Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 1 of 61 Page ID
                                  #:5337




                  EXHIBIT 2
               to Declaration of
                David Van Pelt
                                                            Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 2 of 61 Page ID
                                                                                              #:5338



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                                                           12
                LOS ANGELES, CALIFORNIA 90071




                                                                Attorneys for Defendant
                                                           13   THE GEO GROUP, INC.
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                                                           14                           UNITED STATES DISTRICT COURT
                                                           15                CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
                                                           16   RAUL NOVOA, JAIME CAMPOS                       Case No. 5:17-cv-02514-JGB-SHKx
                                                                FUENTES, ABDIAZIZ KARIM, and
                                                           17   RAMON MANCIA, individually and on
                                                                behalf of all others similarly situated,       Assigned to Hon. Jesus G. Bernal
                                                           18
                                                           19                        Plaintiff,
                                                                vs.                                            DECLARATION OF DAWN
                                                           20                                                  CEJA IN SUPPORT OF
                                                                THE GEO GROUP, INC.,                           DEFENDANT THE GEO
                                                           21                                                  GROUP, INC.’S OPPOSITION
                                                                           Defendant.                          TO PLAINTIFFS' EX PARTE
                                                           22   THE GEO GROUP, INC.,                           APPLICATION FOR A
                                                                                                               TEMPORARY RESTRAINING
                                                           23                      Counter-Claimant,           ORDER REQUIRING COVID-19
                                                                vs.                                            PREVENTION MEASURES FOR
                                                           24                                                  NATIONWIDE HUSP CLASS
                                                           25   RAUL NOVOA, JAIME CAMPOS
                                                                FUENTES, ABDIAZIZ KARIM, and
                                                           26   RAMON MANCIA, individually and on
                                                                behalf of all others similarly situated,
                                                           27
                                                                                   Counter-Defendant.
                                                           28
                                                                52637992;1                                 1                  CASE NO. 5:17-CV-02514-JGB-SHKX
                                                                     DECLARATION OF DAWN CEJA IN SUPPORT OF DEFENDANT THE GEO GROUP, INC.'S
                                                                OPPOSITION TO PLAINTIFFS' EX PARTE APPLICATION FOR A TEMPORARY RESTRAINING ORDER
                                                            Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 3 of 61 Page ID
                                                                                              #:5339



                                                            1                             DECLARATION OF DAWN CEJA
                                                            2            I, Dawn Ceja, hereby declare:
                                                            3            1.    I am the Assistant Facility Administrator at the Aurora ICE Processing
                                                            4   Center (“Aurora Facility” or “GEO”). I am over the age of eighteen (18), and I am
                                                            5   competent to testify in this matter. My statement is based upon my personal
                                                            6   knowledge, and my education, training, and experience.
                                                            7            1.    The Aurora Facility has implemented rigorous processes to avoid the
                                                            8   exposure of the detainee population to COVID-19 and to ensure that procedures are put
                                                            9   in place to avoid the spread of COVID-19 in the event that COVID-19 were to be
                                                           10   introduced to the Aurora Facility.
                                                           11            2.    Attached as Exhibit A is a true and correct copy of the Center for Disease
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                                                           12   Control and Prevention (“CDC”) Interim Guidance on Management of Coronavirus
                LOS ANGELES, CALIFORNIA 90071




                                                           13   Disease 2019 (COVID-19) in Correctional and Detention Facilities. GEO utilized this
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                                                           14   guidance to educate its personnel and detainees at the Aurora Facility about COVID-
                                                           15   19. GEO further utilized this guidance to develop its policies and practices for
                                                           16   addressing COVID-19. My declaration below provides some specifics about GEO’s
                                                           17   implementation of the guidelines at Aurora Facility. I have not attempted to describe in
                                                           18   totality each and every action taken by the facilities and GEO staff to implement the
                                                           19   guidelines or any other precautions, nor could I do so within the limitations of a
                                                           20   publicly filed declaration. However, I hope to convey to the Court that GEO is being
                                                           21   proactive and is taking COVID-19 seriously to reduce the risk of infection.
                                                           22            3.    The health, safety, and well-being of detainees at Aurora Facility
                                                           23   correlates with the health, safety, and well-being of GEO staff, GEO administration,
                                                           24   and our families. Our interests are aligned with respect to mitigation strategies to slow
                                                           25   the spread of the coronavirus and resulting infections of COVID-19.
                                                           26            4.    To date, a number of detainees have been tested in the facility, all of
                                                           27   whom have tested negative for COVID-19. There is no confirmed case of COVID-19
                                                           28
                                                                52637992;1                                  2                     CASE NO. 5:17-CV-02514-JGB-SHKX
                                                                     DECLARATION OF DAWN CEJA IN SUPPORT OF DEFENDANT THE GEO GROUP, INC.'S
                                                                OPPOSITION TO PLAINTIFFS' EX PARTE APPLICATION FOR A TEMPORARY RESTRAINING ORDER
                                                            Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 4 of 61 Page ID
                                                                                              #:5340



                                                            1   within the Aurora Facility. Any detainee who meets the CDC criteria for testing, who
                                                            2   is presenting a fever but has tested negative for the flu and strep, or who is otherwise
                                                            3   recommended for testing by a medical professional is and will be tested.
                                                            4            5.   GEO has held multiple town hall meetings for detainees, since the
                                                            5   beginning of March about COVID-19. These meetings include medical professionals
                                                            6   who answer detainees’ questions about COVID-19 and keep detainees aware of the
                                                            7   ongoing situation.
                                                            8            6.   As with all others across the country, we are continuing to evolve our
                                                            9   practices as we learn more about COVID-19. We continue to implement
                                                           10   supplementary safety measures, in addition to those listed below, as information
                                                           11   becomes available.
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                                                           12                          Social Distancing and Access Limitations
                LOS ANGELES, CALIFORNIA 90071




                                                           13            7.   The Aurora Facility has implemented a number of limitations, in
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                                                           14   connection with ICE, to reduce the introduction of any outside sources of
                                                           15   contamination into the facility.
                                                           16            8.   Limited Visitation: ICE has temporarily stopped all in-person visitation
                                                           17   for detainees and their family and friends with the exception of detainees’ attorney
                                                           18   visits. Attorneys who wish to enter the building must wear Personal Protective
                                                           19   Equipment (“PPE”) including a surgical mask, goggles, and gloves. Otherwise, all
                                                           20   visits are restricted to videoconferencing on tablets that are provided to detainees.
                                                           21            9.   Anyone Entering the Aurora Facility: Any individual who enters the
                                                           22   facility must first complete a screening questionnaire to determine whether the
                                                           23   individual has a likelihood of exposure to COVID-19. This includes all GEO staff,
                                                           24   medical staff, and other regular personnel within the building, as well as those who
                                                           25   arrive for purposes of attending proceedings at the immigration court within the Aurora
                                                           26   Facility. Thereafter, GEO staff take the temperature of employees before entry.
                                                           27   Anyone who presents with a fever must return home until cleared by a medical
                                                           28
                                                                52637992;1                                  3                      CASE NO. 5:17-CV-02514-JGB-SHKX
                                                                     DECLARATION OF DAWN CEJA IN SUPPORT OF DEFENDANT THE GEO GROUP, INC.'S
                                                                OPPOSITION TO PLAINTIFFS' EX PARTE APPLICATION FOR A TEMPORARY RESTRAINING ORDER
                                                            Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 5 of 61 Page ID
                                                                                              #:5341



                                                            1   professional. Staff are not permitted to work when they are sick and are advised to stay
                                                            2   home if they develop symptoms of COVID-19 or come into contact with someone who
                                                            3   has been exposed. All staff who are potentially exposed have been instructed to follow
                                                            4   CDC guidelines for self isolation and medical care.
                                                            5            10.   Incoming Detainees: The Aurora Facility has also placed restrictions on
                                                            6   any new detainees who arrive at the facility for detention. All detainees are screened
                                                            7   for COVID-19 exposure prior to entering the building. After a medical professional
                                                            8   confirms that there are no clinical signs of COVID-19, and that their travel history does
                                                            9   not raise significant concerns of exposure, each incoming detainee must undergo a
                                                           10   minimum of a fourteen-day waiting period before being housed in a housing unit with
                                                           11   current detainees. This procedure allows GEO to address concerns that new individuals
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                                                           12   who are asymptomatic may be carrying COVID-19. During this period, new detainees
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                                                           13   are regularly checked by medical professionals for new symptoms. If a detainee were
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                                                           14   to present concerns of exposure to COVID-19 either because of his or her travel
                                                           15   history or because of his or her symptoms, the detainee would be placed in a negative
                                                           16   pressure medical holding cell, or alternatively, would be denied access to the facility.
                                                           17            11.   Social Distancing within Living Units: GEO has opened all units to
                                                           18   provide for additional space for each detainee in his or her living unit. As a result, the
                                                           19   current population in each pod or dorm is approximately half of the total capacity of
                                                           20   each unit. Further, for those detainees in pod-style housing units, detainees’ cells,
                                                           21   where they sleep, have been reduced so that no more than two detainees share a cell at
                                                           22   a single time, allowing for six feet of distance between detainees while sleeping. For
                                                           23   detainees who are in dorm-style housing, detainees are housed with ample space
                                                           24   between them at half or less than half of capacity. Access to common areas with
                                                           25   television and game access has been limited to no more than 20 detainees at a time.
                                                           26   Prior to COVID-19, those same areas would be typically occupied by 50 or more
                                                           27   detainees.
                                                           28
                                                                52637992;1                                 4                       CASE NO. 5:17-CV-02514-JGB-SHKX
                                                                     DECLARATION OF DAWN CEJA IN SUPPORT OF DEFENDANT THE GEO GROUP, INC.'S
                                                                OPPOSITION TO PLAINTIFFS' EX PARTE APPLICATION FOR A TEMPORARY RESTRAINING ORDER
                                                            Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 6 of 61 Page ID
                                                                                              #:5342



                                                            1            12.   Social Distancing for Other Activities: GEO has temporarily ended all
                                                            2   visits from volunteers to reduce the exposure to outside pathogens. Detainees may still
                                                            3   use the law library, but social distancing is practiced by limiting the number of
                                                            4   individuals in the law library at any one time. Detainees may still engage in
                                                            5   recreational activities, but the number of individuals engaged at a time is limited to a
                                                            6   number whereby six (6) feet of distance can be maintained between each detainee.
                                                            7   Further, all equipment is cleaned and disinfected between each use.
                                                            8                                      Enhanced Hygiene Practices
                                                            9            13.   Supplies: I have assessed GEO’s stock of soap and cleaning supplies and
                                                           10   all supplies are stocked and not at risk of depleting in the near future. Further, there are
                                                           11   adequate supplies to provide hand sanitizer throughout the hallways in the facility. I
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                                                           12   have a plan in place to keep supply stocks replenished as needed. GEO uses EPA
                LOS ANGELES, CALIFORNIA 90071




                                                           13   approved cleaning products that have been demonstrated to be effective against the
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                                                           14   coronavirus, more specifically GS Neutral Disinfectant Cleaner from Spartan Chemical
                                                           15   which appears on “List N” of the EPA’s approved list of cleaners. That list can be
                                                           16   accessed       here:   https://www.epa.gov/pesticide-registration/list-n-disinfectants-use-
                                                           17   against-sars-cov-2. The Aurora Facility currently has an ample supply of this cleaning
                                                           18   product, which is used to disinfect all hard surfaces.
                                                           19            14.   Intensified Cleaning. GEO has implemented intensified cleaning of
                                                           20   surfaces and objects that are frequently touched, especially in common areas. GEO
                                                           21   staff to ensure that all hard surfaces are wiped down with frequency, including tables,
                                                           22   doorknobs, telephones. GEO uses EPA-registered disinfectants that are represented to
                                                           23   be effective against the virus that causes COVID - 19. GEO is not diluting disinfectants
                                                           24   below effective levels. GEO has gloves for use with cleaning. Cleanings occur
                                                           25   throughout the day multiple times.
                                                           26            15.   Reinforced Hygiene: GEO has reinforced healthy Hygiene practices and
                                                           27   has made supplied available to encourage safe hygiene practices. GEO plays a video
                                                           28
                                                                52637992;1                                  5                       CASE NO. 5:17-CV-02514-JGB-SHKX
                                                                     DECLARATION OF DAWN CEJA IN SUPPORT OF DEFENDANT THE GEO GROUP, INC.'S
                                                                OPPOSITION TO PLAINTIFFS' EX PARTE APPLICATION FOR A TEMPORARY RESTRAINING ORDER
                     Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 7 of 61 Page ID
                                                       #:5343



                   1     on a loop in all housing areas that demonstrates the proper handwashing technique.
                   2     GEO has also made the information attached as Exhibit B available to all detainees.
                   3                  16.   Staff PPE Use: GEO has also been able to obtain PPE or staff use. Each
                   4     GEO staff member receives three surgical masks per week and instructions for use of
                   5     the same.
                   6                                               Donald "Abby" Frazer
                   7              17.       I have also reviewed the declaration of Ms. Frazer submitted in
                   8     connection with Plaintiffs' request for a TRO.
                   9              18.       I am familiar with Ms. Frazer and her time at the Aurora facility.
                10                19.       At all times while detained at the Aurora Facility, Ms. Frazer had access
                11       to and a plentiful supply of soap and cleaning supplies.

     WON
               12                 20.       The dormitory where Ms. Frazer was housed with 10 other detainees is
      e704:,


             1` '-‘ 13   subject to the Aurora Facility's social distancing measures as typically, that dorm
ra   F`w-i10 k
             LI' 14      houses up to 24 individuals.
           u
C4         0, 15                  21.       The incident described by Ms. Frazer about a detainee who became ill, to
                         the best of my knowledge based upon Ms. Frazer's description, involved a detainee
     Lk;)
        -LWE- 17         who tested positive for the flu and was medically quarantined.
              18                  22.       No detainees tested positive for COVID-19 during Ms. Frazer's stay and
               19        have not tested positive to date.
               20                 23.       Ms. Frazer was released from the facility for humanitarian reasons on
               21        March 23, 2020.
               22                 I declare under penalty of perjury under the laws of the United States of America
               23        that the foregoing is true and correct and that I executed this Declaration on the 7th day
               24        of April, 2020, in Aurora, Colorado.
               25
                                                                                  6
               26                                                             awn Ceja, Decl an
               27
               28
                         52637992;1                                      6                      CASE No. 5:17-cv-02514-JGB-SHKx
                              DECLARATION OF DAWN CEJA IN SUPPORT OF DEFENDANT THE GEO GROUP, INC.'S
                         OPPOSITION TO PLAINTIFFS' EX PARTS APPLICATION FOR A TEMPORARY RESTRAINING ORDER
Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 8 of 61 Page ID
                                  #:5344




                 EXHIBIT A
               to Declaration of
                  Dawn Ceja
   Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 9 of 61 Page ID
                                     #:5345

           Centers for Disease
           Control and Prevention


  Coronavirus Disease 2019 (COVID-19)

 Interim Guidance on Management of Coronavirus
 Disease 2019 (COVID-19) in Correctional and
 Detention Facilities
    This interim guidance is based on what is currently known about the transmission and severity of coronavirus
    disease 2019 (COVID-19) as of the date of posting, March 23, 2020.

    The US Centers for Disease Control and Prevention (CDC) will update this guidance as needed and as additional
    information becomes available. Please check the CDC website periodically for updated interim guidance.

    This document provides interim guidance specific for correctional facilities and detention centers during the
    outbreak of COVID-19, to ensure continuation of essential public services and protection of the health and safety of
    incarcerated and detained persons, staff, and visitors. Recommendations may need to be revised as more
    information becomes available.




 Who is the intended audience for this guidance?
 This document is intended to provide guiding principles for healthcare and non-healthcare administrators of correctional
 and detention facilities (including but not limited to federal and state prisons, local jails, and detention centers), law
 enforcement agencies that have custodial authority for detained populations (i.e., US Immigration and Customs
 Enforcement and US Marshals Service), and their respective health departments, to assist in preparing for potential
 introduction, spread, and mitigation of COVID-19 in their facilities. In general, the document uses terminology referring to
 correctional environments but can also be applied to civil and pre-trial detention settings.

 This guidance will not necessarily address every possible custodial setting and may not use legal terminology specific to
 individual agencies' authorities or processes. The guidance may need to be adapted based on individual facilities'
 physical space, staffing, population, operations, and other resources and conditions. Facilities should contact
 CDC or their state, local, territorial, and/or tribal public health department if they need assistance in applying these
 principles or addressing topics that are not specifically covered in this guidance.



 Why is this guidance being issued?
  Correctional and detention facilities can include custody, housing, education, recreation, healthcare, food service, and
  workplace components in a single physical setting. The integration of these components presents unique challenges for
  control of COVID-19 transmission among incarcerated/detained persons, staff, and visitors. Consistent application of
  specific preparation, prevention, and management measures can help reduce the risk of transmission and severe disease
  from COVID-19.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html   3/23/20, 12:05 PM
                                                                                                                      Page 1 of 26
   Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 10 of 61 Page ID
                                     #:5346
    • Incarcerated/detained persons live, work, eat, study, and recreate within congregate environments, heightening the
      potential for COVID-19 to spread once introduced.
    • In most cases, incarcerated/detained persons are not permitted to leave the facility.
    • There are many opportunities for COVID-19 to be introduced into a correctional or detention facility, including daily
      staff ingress and egress; transfer of incarcerated/detained persons between facilities and systems, to court
      appearances, and to outside medical visits; and visits from family, legal representatives, and other community
      members. Some settings, particularly jails and detention centers, have high turnover, admitting new entrants daily
      who may have been exposed to COVID-19 in the surrounding community or other regions.
    • Persons incarcerated/detained in a particular facility often come from a variety of locations, increasing the potential
      to introduce COVID-19 from different geographic areas.
    • Options for medical isolation of COVID-19 cases are limited and vary depending on the type and size of facility, as
      well as the current level of available capacity, which is partly based on medical isolation needs for other conditions.
    • Adequate levels of custody and healthcare staffing must be maintained to ensure safe operation of the facility, and
      options to practice social distancing through work alternatives such as working from home or reduced/alternate
      schedules are limited for many staff roles.
    • Correctional and detention facilities can be complex, multi-employer settings that include government and private
      employers. Each is organizationally distinct and responsible for its own operational, personnel, and occupational
      health protocols and may be prohibited from issuing guidance or providing services to other employers or their staff
      within the same setting. Similarly, correctional and detention facilities may house individuals from multiple law
      enforcement agencies or jurisdictions subject to different policies and procedures.
    • Incarcerated/detained persons and staff may have medical conditions that increase their risk of severe disease from
      COVID-19.
    • Because limited outside information is available to many incarcerated/detained persons, unease and
      misinformation regarding the potential for COVID-19 spread may be high, potentially creating security and morale
      challenges.
    • The ability of incarcerated/detained persons to exercise disease prevention measures (e.g., frequent handwashing)
      may be limited and is determined by the supplies provided in the facility and by security considerations. Many
      facilities restrict access to soap and paper towels and prohibit alcohol-based hand sanitizer and many disinfectants.
    • Incarcerated persons may hesitate to report symptoms of COVID-19 or seek medical care due to co-pay
      requirements and fear of isolation.

  CDC has issued separate COVID-19 guidance addressing healthcare infection control and clinical care of COVID-19 cases
  as well as close contacts of cases in community-based settings. Where relevant, community-focused guidance documents
  are referenced in this document and should be monitored regularly for updates, but they may require adaptation for
  correctional and detention settings.

  This guidance document provides additional recommended best practices specifically for correctional and detention
  facilities. At this time, different facility types (e.g., prison vs. jail) and sizes are not differentiated.
  Administrators and agencies should adapt these guiding principles to the specific needs of their facility.


 What topics does this guidance include?
  The guidance below includes detailed recommendations on the following topics related to COVID-19 in correctional and
  detention settings:




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html   3/23/20, 12:05 PM
                                                                                                                      Page 2 of 26
   Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 11 of 61 Page ID
                                     #:5347
    • Operational and communications preparations for COVID-19
    • Enhanced cleaning/disinfecting and hygiene practices
    • Social distancing strategies to increase space between individuals in the facility
    • How to limit transmission from visitors
    • Infection control, including recommended personal protective equipment (PPE) and potential alternatives during
      PPE shortages
    • Verbal screening and temperature check protocols for incoming incarcerated/detained individuals, staff, and visitors
    • Medical isolation of confirmed and suspected cases and quarantine of contacts, including considerations for
      cohorting when individual spaces are limited
    • Healthcare evaluation for suspected cases, including testing for COVID-19
    • Clinical care for confirmed and suspected cases
    • Considerations for persons at higher risk of severe disease from COVID-19


  Definitions of Commonly Used Terms
  Close contact of a COVID-19 case - In the context of COVID-19, an individual is considered a close contact if they a)
  have been within approximately 6 feet of a COVID-19 case for a prolonged period of time or b) have had direct contact
  with infectious secretions from a COVID-19 case (e.g., have been coughed on). Close contact can occur while caring for,
  living with, visiting, or sharing a common space with a COVID-19 case. Data to inform the definition of close contact are
  limited. Considerations when assessing close contact include the duration of exposure (e.g., longer exposure time likely
  increases exposure risk) and the clinical symptoms of the person with COVID-19 (e.g., coughing likely increases exposure
  risk, as does exposure to a severely ill patient).

 Cohorting - Cohorting refers to the practice of isolating multiple laboratory-confirmed COVID-19 cases together as a
 group, or quarantining close contacts of a particular case together as a group. Ideally, cases should be isolated
 individually, and close contacts should be quarantined individually. However, some correctional facilities and detention
 centers do not have enough individual cells to do so and must consider cohorting as an alternative. See Quarantine and
 Medical Isolation sections below for specific details about ways to implement cohorting to minimize the risk of disease
 spread and adverse health outcomes.

  Community transmission of COVID-19 - Community transmission of COVID-19 occurs when individuals acquire the
  disease through contact with someone in their local community, rather than through travel to an affected location. Once
  community transmission is identified in a particular area, correctional facilities and detention centers are more likely to
  start seeing cases inside their walls. Facilities should consult with local public health departments if assistance is needed
  in determining how to define "local community" in the context of COVID-19 spread. However, because all states have
  reported cases, all facilities should be vigilant for introduction into their populations.

  Confirmed vs. Suspected COVID-19 case - A confirmed case has received a positive result from a COVID-19
  laboratory test, with or without symptoms. A suspected case shows symptoms of COVID-19 but either has not been
  tested or is awaiting test results. If test results are positive, a suspected case becomes a confirmed case.

  Incarcerated/detained persons - For the purpose of this document, "incarcerated/detained persons" refers to persons
  held in a prison, jail, detention center, or other custodial setting where these guidelines are generally applicable. The term
  includes those who have been sentenced (i.e., in prisons) as well as those held for pre-trial (i.e., jails) or civil purposes (i.e,




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html         3/23/20, 12:05 PM
                                                                                                                           Page 3 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 12 of 61 Page ID
                                      #:5348
  detention centers). Although this guidance does not specifically reference individuals in every type of custodial setting
  (e.g., juvenile facilities, community confinement facilities), facility administrators can adapt this guidance to apply to their
  specific circumstances as needed.

  Medical Isolation - Medical isolation refers to confining a confirmed or suspected COVID-19 case (ideally to a single cell
  with solid walls and a solid door that closes), to prevent contact with others and to reduce the risk of transmission.
  Medical isolation ends when the individual meets pre-established clinical and/or testing criteria for release from isolation,
  in consultation with clinical providers and public health officials (detailed in guidance below). In this context, isolation
  does NOT refer to punitive isolation for behavioral infractions within the custodial setting. Staff are encouraged to use the
  term "medical isolation" to avoid confusion.

  Quarantine - Quarantine refers to the practice of confining individuals who have had close contact with a COVID-19 case
  to determine whether they develop symptoms of the disease. Quarantine for COVID-19 should last for a period of 14
  days. Ideally, each quarantined individual would be quarantined in a single cell with solid walls and a solid door that
  closes. If symptoms develop during the 14-day period, the individual should be placed under medical isolation and
  evaluated for COVID-19. If symptoms do not develop, movement restrictions can be lifted, and the individual can return
  to their previous residency status within the facility.

  Social Distancing - Social distancing is the practice of increasing the space between individuals and decreasing the
  frequency of contact to reduce the risk of spreading a disease (ideally to maintain at least 6 feet between all individuals,
  even those who are asymptomatic). Social distancing strategies can be applied on an individual level (e.g., avoiding
  physical contact), a group level (e.g., canceling group activities where individuals will be in close contact), and an
  operational level (e.g., rearranging chairs in the dining hall to increase distance between them). Although social distancing
  is challenging to practice in correctional and detention environments, it is a cornerstone of reducing transmission of
  respiratory diseases such as COVID-19. Additional information about social distancing, including information on its use to
  reduce the spread of other viral illnesses, is available in this CDC publication El .

  Staff - In this document, "staff" refers to all public sector employees as well as those working for a private contractor
  within a correctional facility (e.g., private healthcare or food service). Except where noted, "staff' does not distinguish
  between healthcare, custody, and other types of staff including private facility operators.

 Symptoms - Symptoms of COVID-19 include fever, cough, and shortness of breath. Like other respiratory infections,
 COVID-19 can vary in severity from mild to severe. When severe, pneumonia, respiratory failure, and death are possible.
 COVID-19 is a novel disease, therefore the full range of signs and symptoms, the clinical course of the disease, and the
 individuals and populations most at risk for disease and complications are not yet fully understood. Monitor the CDC
 website for updates on these topics.


  Facilities with Limited Onsite Healthcare Services
  Although many large facilities such as prisons and some jails usually employ onsite healthcare staff and have the capacity
  to evaluate incarcerated/detained persons for potential illness within a dedicated healthcare space, many smaller
  facilities do not. Some of these facilities have access to on-call healthcare staff or providers who visit the facility every few
  days. Others have neither onsite healthcare capacity nor onsite medical isolation/quarantine space and must transfer ill
  patients to other correctional or detention facilities or local hospitals for evaluation and care.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html       3/23/20, 12:05 PM
                                                                                                                         Page 4 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 13 of 61 Page ID
                                      #:5349
  The majority of the guidance below is designed to be applied to any correctional or detention facility, either as written or
  with modifications based on a facility's individual structure and resources. However, topics related to healthcare
  evaluation and clinical care of confirmed and suspected COVID-19 cases and their close contacts may not apply directly to
  facilities with limited or no onsite healthcare services. It will be especially important for these types of facilities to
  coordinate closely with their state, local, tribal, and/or territorial health department when they encounter confirmed or
  suspected cases among incarcerated/detained persons or staff, in order to ensure effective medical isolation and
  quarantine, necessary medical evaluation and care, and medical transfer if needed. The guidance makes note of
  strategies tailored to facilities without onsite healthcare where possible.

  Note that all staff in any sized facility, regardless of the presence of onsite healthcare services, should observe guidance
  on recommended PPE in order to ensure their own safety when interacting with confirmed and suspected COVID-19
  cases. Facilities should make contingency plans for the likely event of PPE shortages during the COVID-19 pandemic.

  COVID-19 Guidance for Correctional Facilities

  Guidance for correctional and detention facilities is organized into 3 sections: Operational Preparedness, Prevention, and
  Management of COVID-19. Recommendations across these sections can be applied simultaneously based on the
  progress of the outbreak in a particular facility and the surrounding community.

    • Operational Preparedness. This guidance is intended to help facilities prepare for potential COVID-19
      transmission in the facility. Strategies focus on operational and communications planning and personnel practices.
    • Prevention. This guidance is intended to help facilities prevent spread of COVID-19 from outside the facility to
      inside. Strategies focus on reinforcing hygiene practices, intensifying cleaning and disinfection of the facility,
      screening (new intakes, visitors, and staff), continued communication with incarcerated/detained persons and staff,
      and social distancing measures (increasing distance between individuals).
    • Management. This guidance is intended to help facilities clinically manage confirmed and suspected COVID-19
      cases inside the facility and prevent further transmission. Strategies include medical isolation and care of
      incarcerated/detained persons with symptoms (including considerations for cohorting), quarantine of cases' close
      contacts, restricting movement in and out of the facility, infection control practices for individuals interacting with
      cases and quarantined contacts or contaminated items, intensified social distancing, and cleaning and disinfecting
      areas visited by cases.


  Operational Preparedness
  Administrators can plan and prepare for COVID-19 by ensuring that all persons in the facility know the symptoms of
  COVID-19 and how to respond if they develop symptoms. Other essential actions include developing contingency plans
  for reduced workforces due to absences, coordinating with public health and correctional partners, and communicating
  clearly with staff and incarcerated/detained persons about these preparations and how they may temporarily alter daily
  life.


  Communication & Coordination
    • Develop information-sharing systems with partners.
        o Identify points of contact in relevant state, local, tribal, and/or territorial public health departments before
          cases develop. Actively engage with the health department to understand in advance which entity has
          jurisdiction to implement public health control measures for COVID-19 in a particular correctional or detention




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html    3/23/20, 12:05 PM
                                                                                                                      Page 5 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 14 of 61 Page ID
                                      #:5350
             facility.
          o Create and test communications plans to disseminate critical information to incarcerated/detained persons,
            staff, contractors, vendors, and visitors as the pandemic progresses.
          o Communicate with other correctional facilities in the same geographic area to share information including
            disease surveillance and absenteeism patterns among staff.
          o Where possible, put plans in place with other jurisdictions to prevent confirmed and suspected COVID-19 cases
            and their close contacts from being transferred between jurisdictions and facilities unless necessary for
            medical evaluation, medical isolation/quarantine, clinical care, extenuating security concerns, or to prevent
            overcrowding.
          o Stay informed about updates to CDC guidance via the CDC COVID-19 website as more information becomes
            known.
    • Review existing pandemic flu, all-hazards, and disaster plans, and revise for COVID-19.
        o Ensure that physical locations (dedicated housing areas and bathrooms) have been identified to isolate
          confirmed COVID-19 cases and individuals displaying COVID-19 symptoms, and to quarantine known close
          contacts of cases. (Medical isolation and quarantine locations should be separate). The plan should include
          contingencies for multiple locations if numerous cases and/or contacts are identified and require medical
          isolation or quarantine simultaneously. See Medical Isolation and Quarantine sections below for details
          regarding individual medical isolation and quarantine locations (preferred) vs. cohorting.
          o Facilities without onsite healthcare capacity should make a plan for how they will ensure that suspected COVID-
            19 cases will be isolated, evaluated, tested (if indicated), and provided necessary medical care.
          o Make a list of possible social distancing strategies that could be implemented as needed at different stages of
            transmission intensity.
          o Designate officials who will be authorized to make decisions about escalating or de-escalating response efforts
            as the epidemiologic context changes.

    • Coordinate with local law enforcement and court officials.
       o Identify lawful alternatives to in-person court appearances, such as virtual court, as a social distancing measure
         to reduce the risk of COVID-19 transmission.
          o Explore strategies to prevent over-crowding of correctional and detention facilities during a community
            outbreak.
    • Post signage throughout the facility communicating the following:
        o For all: symptoms of COVID-19 and hand hygiene instructions
          o For incarcerated/detained persons: report symptoms to staff
          o For staff: stay at home when sick; if symptoms develop while on duty, leave the facility as soon as possible and
            follow CDC-recommended steps for persons who are ill with COVID-19 symptoms including self-isolating at
            home, contacting their healthcare provider as soon as possible to determine whether they need to be
            evaluated and tested, and contacting their supervisor.
          o Ensure that signage is understandable for non-English speaking persons and those with low literacy, and make
            necessary accommodations for those with cognitive or intellectual disabilities and those who are deaf, blind, or
            low-vision.


  Personnel Practices
    • Review the sick leave policies of each employer that operates in the facility.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html   3/23/20, 12:05 PM
                                                                                                                     Page 6 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 15 of 61 Page ID
                                      #:5351
          o Review policies to ensure that they actively encourage staff to stay home when sick.
          o If these policies do not encourage staff to stay home when sick, discuss with the contract company.
          o Determine which officials will have the authority to send symptomatic staff home.

    • Identify staff whose duties would allow them to work from home. Where possible, allowing staff to work
      from home can be an effective social distancing strategy to reduce the risk of COVID-19 transmission.
         o Discuss work from home options with these staff and determine whether they have the supplies and
           technological equipment required to do so.
          o put systems in place to implement work from home programs (e.g., time tracking, etc.).


    • Plan for staff absences. Staff should stay home when they are sick, or they may need to stay home to care for a
      sick household member or care for children in the event of school and childcare dismissals.
         o Allow staff to work from home when possible, within the scope of their duties.
          o Identify critical job functions and plan for alternative coverage by cross-training staff where possible.
          o Determine minimum levels of staff in all categories required for the facility to function safely. If possible,
            develop a plan to secure additional staff if absenteeism due to COVID-19 threatens to bring staffing to
            minimum levels.
          o Consider increasing keep on person (KOP) medication orders to cover 30 days in case of healthcare staff
            shortages.

    • Consider offering revised duties to staff who are at higher risk of severe illness with COVID-19. Persons
      at higher risk may include older adults and persons of any age with serious underlying medical conditions including
      lung disease, heart disease, and diabetes. See CDC's website for a complete list, and check regularly for updates as
      more data become available to inform this issue.
         o Facility administrators should consult with their occupational health providers to determine whether it would
            be allowable to reassign duties for specific staff members to reduce their likelihood of exposure to COVID-19.
    • Offer the seasonal influenza vaccine to all incarcerated/detained persons (existing population and new
      intakes) and staff throughout the influenza season. Symptoms of COVID-19 are similar to those of influenza.
      Preventing influenza cases in a facility can speed the detection of COVID-19 cases and reduce pressure on
      healthcare resources.

    • Reference the Occupational Safety and Health Administration website Cl for recommendations
      regarding worker health.

    • Review CDC's guidance for businesses and employers to identify any additional strategies the facility can use
      within its role as an employer.


  Operations & Supplies
    • Ensure that sufficient stocks of hygiene supplies, cleaning supplies, PPE, and medical supplies
      (consistent with the healthcare capabilities of the facility) are on hand and available, and have a plan in
      place to restock as needed if COVID-19 transmission occurs within the facility.
        o Standard medical supplies for daily clinic needs
          o Tissues
          o Liquid soap when possible. If bar soap must be used, ensure that it does not irritate the skin and thereby




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                                                                                                                         Page 7 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 16 of 61 Page ID
                                      #:5352
             discourage frequent hand washing.
          o Hand drying supplies
          o Alcohol-based hand sanitizer containing at least 60% alcohol (where permissible based on security restrictions)
          o Cleaning supplies, including EPA-registered disinfectants effective against the virus that causes COVID-19 El
          o Recommended PPE (facemasks, N95 respirators, eye protection, disposable medical gloves, and disposable
             gowns/one-piece coveralls). See PPE section and Table 1 for more detailed information, including
             recommendations for extending the life of all PPE categories in the event of shortages, and when face masks
             are acceptable alternatives to N95s. Visit CDC's website for a calculator to help determine rate of PPE usage.
          o Sterile viral transport media and sterile swabs to collect nasopharyngeal specimens if COVID-19 testing is
            indicated

    • Make contingency plans for the probable event of PPE shortages during the COVID-19 pandemic,
      particularly for non-healthcare workers.
        o See CDC guidance optimizing PPE supplies.


    • Consider relaxing restrictions on allowing alcohol-based hand sanitizer in the secure setting where
      security concerns allow. If soap and water are not available, CDC recommends cleaning hands with an alcohol-
      based hand sanitizer that contains at least 60% alcohol. Consider allowing staff to carry individual-sized bottles for
      their personal hand hygiene while on duty.
    • Provide a no-cost supply of soap to incarcerated/detained persons, sufficient to allow frequent_ hand
      washing. (See Hygiene section below for additional detail regarding recommended frequency and protocol for hand
      washing.)
        o Provide liquid soap where possible. If bar soap must be used, ensure that it does not irritate the skin and
          thereby discourage frequent hand washing.

    •   If not already in place, employers operating within the facility should establish a respiratory protection
        program as appropriate, to ensure that staff and incarcerated/detained persons are fit tested for any
        respiratory protection they will need within the scope of their responsibilities.
    • Ensure that staff and incarcerated/detained persons are trained to correctly don, doff, and dispose of
      PPE that they will need to use within the scope of their responsibilities. See Table 1 for recommended PPE
      for incarcerated/detained persons and staff with varying levels of contact with COVID-19 cases or their close
      contacts.



  Prevention
  Cases of COVID-19 have been documented in all 50 US states. Correctional and detention facilities can prevent
  introduction of COVID-19 from the community and reduce transmission if it is already inside by reinforcing good hygiene
  practices among incarcerated/detained persons, staff, and visitors (including increasing access to soap and paper towels),
  intensifying cleaning/disinfection practices, and implementing social distancing strategies.

  Because many individuals infected with COVID-19 do not display symptoms, the virus could be present in facilities before
  cases are identified. Both good hygiene practices and social distancing are critical in preventing further transmission.


  Operations



https://www.ccic.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html   3/23/20, 12:05 PM
                                                                                                                      Page 8 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 17 of 61 Page ID
                                      #:5353
    • Stay in communication with partners about your facility's current situation.
        o State, local, territorial, and/or tribal health departments
          o Other correctional facilities
    • Communicate with the public about any changes to facility operations, including visitation programs.
    • Restrict transfers of incarcerated/detained persons to and from other jurisdictions and facilities unless
      necessary for medical evaluation, medical isolation/quarantine, clinical care, extenuating security
      concerns, or to prevent overcrowding.
        o Strongly consider postponing non-urgent outside medical visits.
          o If a transfer is absolutely necessary, perform verbal screening and a temperature check as outlined in the
            Screening section below, before the individual leaves the facility. If an individual does not clear the screening
            process, delay the transfer and follow the protocol for a suspected COVID-19 case - including putting a face
            mask on the individual, immediately placing them under medical isolation, and evaluating them for possible
            COVID-19 testing. If the transfer must still occur, ensure that the receiving facility has capacity to properly
            isolate the individual upon arrival. Ensure that staff transporting the individual wear recommended PPE (see
            Table 1) and that the transport vehicle is cleaned thoroughly after transport.

    • Implement lawful alternatives to in-person court appearances where permissible.
    • Where relevant, consider suspending co-pays for incarcerated/detained persons seeking medical
      evaluation for respiratory symptoms.
    • Limit the number of operational entrances and exits to the facility.


 Cleaning and Disinfecting Practices
    • Even if COVID-19 cases have not yet been identified inside the facility or in the surrounding community,
      begin implementing intensified cleaning and disinfecting procedures according to the
      recommendations below. These measures may prevent spread of COVID-19 if introduced.
    • Adhere to CDC recommendations for cleaning and disinfection during the COVID-19 response. Monitor
      these recommendations for updates.
         o several times per day, clean and disinfect surfaces and objects that are frequently touched, especially in
           common areas. Such surfaces may include objects/surfaces not ordinarily cleaned daily (e.g., doorknobs, light
           switches, sink handles, countertops, toilets, toilet handles, recreation equipment, kiosks, and telephones).
          o Staff should clean shared equipment several times per day and on a conclusion of use basis (e.g., radios,
            service weapons, keys, handcuffs).
          o Use household cleaners and EPA-registered disinfectants effective against the virus that causes COVID-19 Cl
            as appropriate for the surface, following label instructions. This may require lifting restrictions on undiluted
            disinfectants.
          o Labels contain instructions for safe and effective use of the cleaning product, including precautions that should
            be taken when applying the product, such as wearing gloves and making sure there is good ventilation during
            use
    • Consider increasing the number of staff and/or incarcerated/detained persons trained and responsible
      for cleaning common areas to ensure continual cleaning of these areas throughout the day.
    • Ensure adequate supplies to support intensified cleaning and disinfection practices, and have a plan in
      place to restock rapidly if needed.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html    3/23/20, 12:05 PM
                                                                                                                      Page 9 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 18 of 61 Page ID
                                      #:5354

  Hygiene
    • Reinforce healthy hygiene practices, and provide and continually restock hygiene supplies throughout
      the facility, including in bathrooms, food preparation and dining areas, intake areas, visitor entries and
      exits, visitation rooms and waiting rooms, common areas, medical, and staff-restricted areas (e.g.,
      break rooms).
    • Encourage all persons in the facility to take the following actions to protect themselves and others from
      COVID-19. Post signage throughout the facility, and communicate this information verbally on a regular
      basis. Sample signage and other communications materials are available on the CDC website. Ensure
      that materials can be understood by non-English speakers and those with low literacy, and make necessary
      accommodations for those with cognitive or intellectual disabilities and those who are deaf, blind, or low-vision.
        o Practice good cough etiquette: Cover your mouth and nose with your elbow (or ideally with a tissue) rather
           than with your hand when you cough or sneeze, and throw all tissues in the trash immediately after use.
          o Practice good hand hygiene: Regularly wash your hands with soap and water for at least 20 seconds,
            especially after coughing, sneezing, or blowing your nose; after using the bathroom; before eating or preparing
            food; before taking medication; and after touching garbage.
          o Avoid touching your eyes, nose, or mouth without cleaning your hands first.
          o   Avoid sharing eating utensils, dishes, and cups.
          o Avoid non-essential physical contact.

    • Provide incarcerated/detained persons and staff no-cost access to:
        o Soap - Provide liquid soap where possible. If bar soap must be used, ensure that it does not irritate the skin, as
          this would discourage frequent hand washing.
          o Running water, and hand drying machines or disposable paper towels for hand washing
          o Tissues and no-touch trash receptacles for disposal
    • Provide alcohol-based hand sanitizer with at least 60% alcohol where permissible based on security
      restrictions. Consider allowing staff to carry individual-sized bottles to maintain hand hygiene.
    •   Communicate that sharing drugs and drug preparation equipment can spread COVID-19 due to
        potential contamination of shared items and close contact between individuals.


  Prevention Practices for Incarcerated/Detained Persons
    • Perform pre-intake screening and temperature checks for all new entrants. Screening should take place
      in the sallyport, before beginning the intake process, in order to identify and immediately place individuals
      with symptoms under medical isolation. See Screening section below for the wording of screening questions and a
      recommended procedure to safely perform a temperature check. Staff performing temperature checks should wear
      recommended PPE (see PPE section below).
         o If an individual has symptoms of COVID-19 (fever, cough, shortness of breath):
              ■ Require the individual to wear a face mask.
                ■ Ensure that staff who have direct contact with the symptomatic individual wear recommended PPE.
                ■ Place the individual under medical isolation (ideally in a room near the screening location, rather than
                  transporting the ill individual through the facility), and refer to healthcare staff for further evaluation. (See
                  Infection Control and Clinical Care sections below.)
                ■ Facilities without onsite healthcare staff should contact their state, local, tribal, and/or territorial health




https://vvviw.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html       3/23/20, 12:05 PM
                                                                                                                          Page 10 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 19 of 61 Page ID
                                      #:5355
                  department to coordinate effective medical isolation and necessary medical care.
          o If an individual is a close contact of a known COVID-19 case (but has no COVID-19 symptoms):
               • Quarantine the individual and monitor for symptoms two times per day for 14 days. (See Quarantine
                 section below.)
               ■ Facilities without onsite healthcare staff should contact their state, local, tribal, and/or territorial health
                 department to coordinate effective quarantine and necessary medical care.
    • Implement social distancing strategies to increase the physical space between incarcerated/detained
      persons (ideally 6 feet between all individuals, regardless of the presence of symptoms). Strategies will
      need to be tailored to the individual space in the facility and the needs of the population and staff. Not all strategies
      will be feasible in all facilities. Example strategies with varying levels of intensity include:
         o Common areas:
               ■ Enforce increased space between individuals in holding cells, as well as in lines and waiting areas such as
                 intake (e.g., remove every other chair in a waiting area)
          o Recreation:
              ■ Choose recreation spaces where individuals can spread out
               ■ Stagger time in recreation spaces
               ■ Restrict recreation space usage to a single housing unit per space
                 (where feasible)
          o Meals:
             ■ Stagger meals
               • Rearrange seating in the dining hall so that there is more space between individuals (e.g., remove every
                 other chair and use only one side of the table)
               ■ Provide meals inside housing units or cells
          o Group activities:
              • Limit the size of group activities
               • Increase space between individuals during group activities
               ■ Suspend group programs where participants are likely to be in closer contact than they are in their
                 housing environment
               ■ Consider alternatives to existing group activities, in outdoor areas or other areas where individuals can
                 spread out
          o Housing:
              ■ If space allows, reassign bunks to provide more space between individuals, ideally 6 feet or more in all
                directions. (Ensure that bunks are cleaned thoroughly if assigned to a new occupant.)
               ■ Arrange bunks so that individuals sleep head to foot to increase the distance between them
               ■ Rearrange scheduled movements to minimize mixing of individuals from different housing areas
          o Medical:
             ■ If possible, designate a room near each housing unit to evaluate individuals with COVID-19 symptoms,
                rather than having them walk through the facility to be evaluated in the medical unit. If this is not feasible,
                consider staggering sick call.
               ■ Designate a room near the intake area to evaluate new entrants who are flagged by the intake screening
                 process for COVID-19 symptoms or case contact, before they move to other parts of the facility.
    • Communicate clearly and frequently with incarcerated/detained persons about changes to their daily
      routine and how they can contribute to risk reduction.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html        3/23/20, 12:05 PM
                                                                                                                          Page 11 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 20 of 61 Page ID
                                      #:5356
    • Note that if group activities are discontinued, it will be important to identify alternative forms of
      activity to support the mental health of incarcerated/detained persons.

    • Consider suspending work release programs and other programs that involve movement of
      incarcerated/detained individuals in and out of the facility.
    • Provide up-to-date information about COVID-19 to incarcerated/detained persons on a regular basis,
      including:
        o Symptoms of COVID-19 and its health risks
          o Reminders to report COVID-19 symptoms to staff at the first sign of illness
    • Consider having healthcare staff perform rounds on a regular basis to answer questions about COVID-
      19.


  Prevention Practices for Staff
    • Remind staff to stay at home if they are sick. Ensure that staff are aware that they will not be able to enter the
      facility if they have symptoms of COVID-19, and that they will be expected to leave the facility as soon as possible if
      they develop symptoms while on duty.
    • Perform verbal screening (for COVID-19 symptoms and close contact with cases) and temperature
      checks for all staff daily on entry. See Screening section below for wording of screening questions and a
      recommended procedure to safely perform temperature checks.
        o In very small facilities with only a few staff, consider self-monitoring or virtual monitoring (e.g., reporting to a
          central authority via phone).
          o Send staff home who do not clear the screening process, and advise them to follow CDC-recommended steps
            for persons who are ill with COVID-19 symptoms.

    • Provide staff with up-to-date information about COVID-19 and about facility policies on a regular basis,
      including:
        o symptoms of COVID-19 and its health risks
          o Employers' sick leave policy
          o If staff develop a fever, cough, or shortness of breath while at work: immediately put on a face mask,
            inform supervisor, leave the facility, and follow CDC-recommended steps for persons who are ill with COVID-19
            symptoms.
          o If staff test positive for COVID-19: inform workplace and personal contacts immediately, and do not return
            to work until a decision to discontinue home medical isolation precautions is made. Monitor CDC guidance on
            discontinuing home isolation regularly as circumstances evolve rapidly.
          o If a staff member is identified as a close contact of a COVID-19 case (either within the facility or in
            the community): self-quarantine at home for 14 days and return to work if symptoms do not develop. If
            symptoms do develop, follow CDC-recommended steps for persons who are ill with COVID-19 symptoms.
    • If a staff member has a confirmed COVID-19 infection, the relevant employers should inform other staff
      about their possible exposure to COVID-19 in the workplace, but should maintain confidentiality as
      required by the Americans with Disabilities Act.
         o Employees who are close contacts of the case should then self-monitor for symptoms (i.e., fever, cough, or
            shortness of breath).
    • When feasible and consistent with security priorities, encourage staff to maintain a distance of 6 feet or
      more from an individual with respiratory symptoms while interviewing, escorting, or interacting in




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html      3/23/20, 12:05 PM
                                                                                                                       Page 12 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 21 of 61 Page ID
                                      #:5357
       other ways.
    • Ask staff to keep interactions with individuals with respiratory symptoms as brief as possible.


  Prevention Practices for Visitors
    • If possible, communicate with potential visitors to discourage contact visits in the interest of their own
      health and the health of their family members and friends inside the facility.
    • Perform verbal screening (for COVID-19 symptoms and close contact with cases) and temperature
      checks for all visitors and volunteers on entry. See Screening section below for wording of screening questions
      and a recommended procedure to safely perform temperature checks.
        o Staff performing temperature checks should wear recommended PPE.
          o Exclude visitors and volunteers who do not clear the screening process or who decline screening.
    • Provide alcohol-based hand sanitizer with at least 60% alcohol in visitor entrances, exits, and waiting
      areas.
    • Provide visitors and volunteers with information to prepare them for screening.
        o Instruct visitors to postpone their visit if they have symptoms of respiratory illness.
          o If possible, inform potential visitors and volunteers before they travel to the facility that they should expect to
            be screened for COVID-19 (including a temperature check), and will be unable to enter the facility if they do not
            clear the screening process or if they decline screening.
          o Display signage outside visiting areas explaining the COVID-19 screening and temperature check process.
            Ensure that materials are understandable for non-English speakers and those with low literacy.
    • Promote non-contact visits:
        o Encourage incarcerated/detained persons to limit contact visits in the interest of their own health and the
          health of their visitors.
          o Consider reducing or temporarily eliminating the cost of phone calls for incarcerated/detained persons.
          o Consider increasing incarcerated/detained persons' telephone privileges to promote mental health and reduce
            exposure from direct contact with community visitors.
    • Consider suspending or modifying visitation programs, if legally permissible. For example, provide
      access to virtual visitation options where available.
        o If moving to virtual visitation, clean electronic surfaces regularly. (See Cleaning guidance below for instructions
          on cleaning electronic surfaces.)
          o Inform potential visitors of changes to, or suspension of, visitation programs.
          o Clearly communicate any visitation program changes to incarcerated/detained persons, along with the reasons
            for them (including protecting their health and their family and community members' health).
          o If suspending contact visits, provide alternate means (e.g., phone or video visitation) for incarcerated/detained
            individuals to engage with legal representatives, clergy, and other individuals with whom they have legal right
            to consult.

  NOTE: Suspending visitation would be done in the interest of incarcerated/detained persons' physical health and the
  health of the general public. However, visitation is important to maintain mental health. If visitation is suspended,
  facilities should explore alternative ways for incarcerated/detained persons to communicate with their families, friends,
  and other visitors in a way that is not financially burdensome for them. See above suggestions for promoting non-contact
  visits.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html    3/23/20, 12:05 PM
                                                                                                                     Page 13 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 22 of 61 Page ID
                                      #:5358
     • Restrict non-essential vendors, volunteers, and tours from entering the facility.



  Management
  If there has been a suspected COVID-19 case inside the facility (among incarcerated/detained persons, staff, or visitors
  who have recently been inside), begin implementing Management strategies while test results are pending. Essential
  Management strategies include placing cases and individuals with symptoms under medical isolation, quarantining their
  close contacts, and facilitating necessary medical care, while observing relevant infection control and environmental
  disinfection protocols and wearing recommended PPE.


 Operations
    • Implement alternate work arrangements deemed feasible in the Operational Preparedness
    • Suspend all transfers of incarcerated/detained persons to and from other jurisdictions and facilities
      (including work release where relevant), unless necessary for medical evaluation, medical
      isolation/quarantine, care, extenuating security concerns, or to prevent overcrowding.
         o If a transfer is absolutely necessary, perform verbal screening and a temperature check as outlined in the
           Screening section below, before the individual leaves the facility. If an individual does not clear the screening
           process, delay the transfer and follow the protocol for a suspected COVID-19 case - including putting a face
           mask on the individual, immediately placing them under medical isolation, and evaluating them for possible
           COVID-19 testing. If the transfer must still occur, ensure that the receiving facility has capacity to appropriately
           isolate the individual upon arrival. Ensure that staff transporting the individual wear recommended PPE (see
           Table 1) and that the transport vehicle is cleaned thoroughly after transport.
    • If possible, consider quarantining all new intakes for 14 days before they enter the facility's general
      population (SEPARATELY from other individuals who are quarantined due to contact with a COVID-19
      case). Subsequently in this document, this practice is referred to as routine intake quarantine.
    • When possible, arrange lawful alternatives to in-person court appearances.
    • Incorporate screening for COVID-19 symptoms and a temperature check into release planning.
        o Screen all releasing individuals for COVID-19 symptoms and perform a temperature check. (See Screening
          section below.)
            ■ If an individual does not clear the screening process, follow the protocol for a suspected COVID-19 case
               including putting a face mask on the individual, immediately placing them under medical isolation, and
               evaluating them for possible COVID-19 testing.
               ■ If the individual is released before the recommended medical isolation period is complete, discuss release
                 of the individual with state, local, tribal, and/or territorial health departments to ensure safe medical
                 transport and continued shelter and medical care, as part of release planning. Make direct linkages to
                 community resources to ensure proper medical isolation and access to medical care.
               ■ Before releasing an incarcerated/detained individual with COVID-19 symptoms to a community-based
                 facility, such as a homeless shelter, contact the facility's staff to ensure adequate time for them to prepare
                 to continue medical isolation, or contact local public health to explore alternate housing options.
    • Coordinate with state, local, tribal, and/or territorial health departments.
        o when a COVID-19 case is suspected, work with public health to determine action. See Medical Isolation section
          below.
          o When a COVID-19 case is suspected or confirmed, work with public health to identify close contacts who should
            be placed under quarantine. See Quarantine section below.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html     3/23/20, 12:05 PM
                                                                                                                      Page 14 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 23 of 61 Page ID
                                      #:5359
          o Facilities with limited onsite medical isolation, quarantine, and/or healthcare services should coordinate closely
            with state, local, tribal, and/or territorial health departments when they encounter a confirmed or suspected
            case, in order to ensure effective medical isolation or quarantine, necessary medical evaluation and care, and
            medical transfer if needed. See Facilities with Limited Onsite Healthcare Services section.


  Hygiene
    • Continue to ensure that hand hygiene supplies are well-stocked in all areas of the facility. (See above.)
    •   Continue to emphasize practicing good hand hygiene and cough etiquette. (See above.)


  Cleaning and Disinfecting Practices
    •   Continue adhering to recommended cleaning and disinfection procedures for the facility at large. (See
        above.)
    • Reference specific cleaning and disinfection procedures for areas where a COVID-19 case has spent
      time (below).


 Medical Isolation of Confirmed or Suspected COVID-19 Cases
 NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity. Facilities
 without onsite healthcare capacity, or without sufficient space to implement effective medical isolation,
 should coordinate with local public health officials to ensure that COVID-19 cases will be appropriately
 isolated, evaluated, tested (if indicated), and given care.

    • As soon as an individual develops symptoms of COVID-19, they should wear a face mask (if it does not
      restrict breathing) and should be immediately placed under medical isolation in a separate
      environment from other individuals.
    • Keep the individual's movement outside the medical isolation space to an absolute minimum.
        o Provide medical care to cases inside the medical isolation space. See Infection Control and Clinical Care
          sections for additional details.
          o   Serve meals to cases inside the medical isolation space.
          o   Exclude the individual from all group activities.
          o Assign the isolated individual a dedicated bathroom when possible.
    • Ensure that the individual is wearing a face mask at all times when outside of the medical isolation
      space, and whenever another individual enters. Provide clean masks as needed. Masks should be changed at
      least daily, and when visibly soiled or wet.
    • Facilities should make every possible effort to place suspected and confirmed COVID-19 cases under
      medical isolation individually. Each isolated individual should be assigned their own housing space and
      bathroom where possible. Cohorting should only be practiced if there are no other available options.
        o If cohorting is necessary:
              s Only individuals who are laboratory confirmed COVID-19 cases should be placed under
                 medical isolation as a cohort. Do not cohort confirmed cases with suspected cases or case
                 contacts.
                ■ Unless no other options exist, do not house COVID-19 cases with individuals who have an undiagnosed
                  respiratory infection.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.htrn1   3/23/20, 12:05 PM
                                                                                                                     Page 15 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 24 of 61 Page ID
                                      #:5360
               ■ Ensure that cohorted cases wear face masks at all times.
          o In order of preference, individuals under medical isolation should be housed:
              ■ Separately, in single cells with solid walls (i.e., not bars) and solid doors that close fully
               ■ Separately, in single cells with solid walls but without solid doors
               ■ As a cohort, in a large, well-ventilated cell with solid walls and a solid door that closes fully. Employ social
                 distancing strategies related to housing in the Prevention section above.
               ■ As a cohort, in a large, well-ventilated cell with solid walls but without a solid door. Employ social
                 distancing strategies related to housing in the Prevention section above.
               ■ As a cohort, in single cells without solid walls or solid doors (i.e., cells enclosed entirely with bars),
                 preferably with an empty cell between occupied cells. (Although individuals are in single cells in this
                 scenario, the airflow between cells essentially makes it a cohort arrangement in the context of COVID-19.)
               ■ As a cohort, in multi-person cells without solid walls or solid doors (i.e., cells enclosed entirely with bars),
                 preferably with an empty cell between occupied cells. Employ social distancing strategies related to
                 housing in the Prevention section above.
               ■ Safely transfer individual(s) to another facility with available medical isolation capacity in one of the above
                 arrangements
                 (NOTE - Transfer should be avoided due to the potential to introduce infection to another facility; proceed
                 only if no other options are available.)

  If the ideal choice does not exist in a facility, use the next best alternative.

    • If the number of confirmed cases exceeds the number of individual medical isolation spaces available
      in the facility, be especially mindful of cases who are at higher risk of severe illness from COVID-19.
      Ideally, they should not be cohorted with other infected individuals. If cohorting is unavoidable, make all possible
      accommodations to prevent transmission of other infectious diseases to the higher-risk individual. (For example,
      allocate more space for a higher-risk individual within a shared medical isolation space.)
         o persons at higher risk may include older adults and persons of any age with serious underlying medical
            conditions such as lung disease, heart disease, and diabetes. See CDC's website for a complete list, and check
            regularly for updates as more data become available to inform this issue.
          o Note that incarcerated/detained populations have higher prevalence of infectious and chronic diseases and are
            in poorer health than the general population, even at younger ages.
    • Custody staff should be designated to monitor these individuals exclusively where possible. These staff
      should wear recommended PPE as appropriate for their level of contact with the individual under medical isolation
      (see PPE section below) and should limit their own movement between different parts of the facility to the extent
      possible.
    • Minimize transfer of COVID-19 cases between spaces within the healthcare unit.
    • Provide individuals under medical isolation with tissues and, if permissible, a lined no-touch trash
      receptacle. Instruct them to:
        o cover their mouth and nose with a tissue when they cough or sneeze
          o Dispose of used tissues immediately in the lined trash receptacle
          o Wash hands immediately with soap and water for at least 20 seconds. If soap and water are not available,
            clean hands with an alcohol-based hand sanitizer that contains at least 60% alcohol (where security concerns
            permit). Ensure that hand washing supplies are continually restocked.
    • Maintain medical isolation until all the following criteria have been met. Monitor the CDC website for




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html       3/23/20, 12:05 PM
                                                                                                                        Page 16 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 25 of 61 Page ID
                                      #:5361
       updates to these criteria.
         o For individuals who will be tested to determine if they are still contagious:
             ■ The individual has been free from fever for at least 72 hours without the use of fever-reducing
                medications AND
               ■ The individual's other symptoms have improved (e.g., cough, shortness of breath) AND
               ■ The individual has tested negative in at least two consecutive respiratory specimens collected at least 24
                 hours apart
          o For individuals who will NOT be tested to determine if they are still contagious:
              ■ The individual has been free from fever for at least 72 hours without the use of fever-reducing
                 medications AND
               ■ The individual's other symptoms have improved (e.g., cough, shortness of breath) AND
               ■ At least 7 days have passed since the first symptoms appeared
          o For individuals who had a confirmed positive COVID-19 test but never showed symptoms:
              ■ At least 7 days have passed since the date of the individual's first positive COVID-19 test AND
               ■ The individual has had no subsequent illness
    • Restrict cases from leaving the facility while under medical isolation precautions, unless released from
      custody or if a transfer is necessary for medical care, infection control, lack of medical isolation space,
      or extenuating security concerns.
        o If an incarcerated/detained individual who is a COVID-19 case is released from custody during their medical
          isolation period, contact public health to arrange for safe transport and continuation of necessary medical care
          and medical isolation as part of release planning.


 Cleaning Spaces where COVID-19 Cases Spent Time
    • Thoroughly clean and disinfect all areas where the confirmed or suspected COVID-19 case spent time.
      Note — these protocols apply to suspected cases as well as confirmed cases, to ensure adequate
      disinfection in the event that the suspected case does, in fact, have COVID-19. Refer to the Definitions
      section for the distinction between confirmed and suspected cases.
        o Close off areas used by the infected individual. If possible, open outside doors and windows to increase air
           circulation in the area. Wait as long as practical, up to 24 hours under the poorest air exchange conditions
           (consult CDC Guidelines for Environmental Infection Control in Health-Care Facilities for wait time based on
           different ventilation conditions), before beginning to clean and disinfect, to minimize potential for exposure to
           respiratory droplets.
          o Clean and disinfect all areas (e.g., cells, bathrooms, and common areas) used by the infected individual,
            focusing especially on frequently touched surfaces (see list above in Prevention section).
    • Hard (non-porous) surface cleaning and disinfection
       o If surfaces are dirty, they should be cleaned using a detergent or soap and water prior to disinfection.
          o For disinfection, most common EPA-registered household disinfectants should be effective. Choose cleaning
            products based on security requirements within the facility.
              ■ Consult a list of products that are EPA-approved for use against the virus that causes COVID-19 E . Follow
                 the manufacturer's instructions for all cleaning and disinfection products (e.g., concentration, application
                 method and contact time, etc.).
               ■ Diluted household bleach solutions can be used if appropriate for the surface. Follow the manufacturer's
                 instructions for application and proper ventilation, and check to ensure the product is not past its




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html   3/23/20, 12:05 PM
                                                                                                                    Page 17 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 26 of 61 Page ID
                                      #:5362
                   expiration date. Never mix household bleach with ammonia or any other cleanser. Unexpired household
                   bleach will be effective against coronaviruses when properly diluted. Prepare a bleach solution by mixing:
                     n 5 tablespoons (1/3rd cup) bleach per gallon of water or

                     • 4 teaspoons bleach per quart of water
    • Soft (porous) surface cleaning and disinfection
        o For soft (porous) surfaces such as carpeted floors and rugs, remove visible contamination if present and clean
             with appropriate cleaners indicated for use on these surfaces. After cleaning:
               • If the items can be laundered, launder items in accordance with the manufacturer's instructions using the
                  warmest appropriate water setting for the items and then dry items completely.
               • Otherwise, use products that are EPA-approved for use against the virus that causes COVID-19 Ell and are
                 suitable for porous surfaces.
    • Electronics cleaning and disinfection
        o For electronics such as tablets, touch screens, keyboards, and remote controls, remove visible contamination if
          present.
             • Follow the manufacturer's instructions for all cleaning and disinfection products.
               • Consider use of wipeable covers for electronics.
               • If no manufacturer guidance is available, consider the use of alcohol-based wipes or spray containing at
                 least 70% alcohol to disinfect touch screens. Dry surfaces thoroughly to avoid pooling of liquids.

 Additional information on cleaning and disinfection of communal facilities such can be found on CDC's website.

    • Ensure that staff and incarcerated/detained persons performing cleaning wear recommended PPE. (See
      PPE section below.)
    • Food service items. Cases under medical isolation should throw disposable food service items in the trash in their
      medical isolation room. Non-disposable food service items should be handled with gloves and washed with hot
      water or in a dishwasher. Individuals handling used food service items should clean their hands after removing
      gloves.
    • Laundry from a COVID-19 cases can be washed with other individuals' laundry.
        o Individuals handling laundry from COVID-19 cases should wear disposable gloves, discard after each use, and
          clean their hands after.
          o Do not shake dirty laundry. This will minimize the possibility of dispersing virus through the air.
          o Launder items as appropriate in accordance with the manufacturer's instructions. If possible, launder items
            using the warmest appropriate water setting for the items and dry items completely.
          o Clean and disinfect clothes hampers according to guidance above for surfaces. If permissible, consider using a
            bag liner that is either disposable or can be laundered.
    • Consult cleaning recommendations above to ensure that transport vehicles are thoroughly cleaned
      after carrying a confirmed or suspected COVID-19 case.


  Quarantining Close Contacts of COVID-19 Cases
  NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity. Facilities
  without onsite healthcare capacity, or without sufficient space to implement effective quarantine, should
  coordinate with local public health officials to ensure that close contacts of COVID-19 cases will be
  effectively quarantined and medically monitored.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html     3/23/20, 12:05 PM
                                                                                                                      Page 18 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 27 of 61 Page ID
                                      #:5363
     • Incarcerated/detained persons who are close contacts of a confirmed or suspected COVID-19 case
       (whether the case is another incarcerated/detained person, staff member, or visitor) should be placed
       under quarantine for 14 days (see CDC guidelines).
         o If an individual is quarantined due to contact with a suspected case who is subsequently tested for COVID-19
           and receives a negative result, the quarantined individual should be released from quarantine restrictions.
    • In the context of COVID-19, an individual (incarcerated/detained person or staff) is considered a close
      contact if they:
        o Have been within approximately 6 feet of a COVID-19 case for a prolonged period of time OR
          o Have had direct contact with infectious secretions of a COVID-19 case (e.g., have been coughed on)

  Close contact can occur while caring for, living with, visiting, or sharing a common space with a COVID-19 case. Data to
  inform the definition of close contact are limited. Considerations when assessing close contact include the duration of
  exposure (e.g., longer exposure time likely increases exposure risk) and the clinical symptoms of the person with COVID-
  19 (e.g., coughing likely increases exposure risk, as does exposure to a severely ill patient).

    • Keep a quarantined individual's movement outside the quarantine space to an absolute minimum.
        o Provide medical evaluation and care inside or near the quarantine space when possible.
          o Serve meals inside the quarantine space.
          o Exclude the quarantined individual from all group activities.
          o Assign the quarantined individual a dedicated bathroom when possible.
    •   Facilities should make every possible effort to quarantine close contacts of COVID-19 cases individually.
        Cohorting multiple quarantined close contacts of a COVID-19 case could transmit COVID-19 from those who are
        infected to those who are uninfected. Cohorting should only be practiced if there are no other available options.
           o If cohorting of close contacts under quarantine is absolutely necessary, symptoms of all individuals should be
             monitored closely, and individuals with symptoms of COVID-19 should be placed under medical isolation
          o If an entire housing unit is under quarantine due to contact with a case from the same housing unit, the entire
            housing unit may need to be treated as a cohort and quarantine in place.
          o some facilities may choose to quarantine all new intakes for 14 days before moving them to the facility's
            general population as a general rule (not because they were exposed to a COVID-19 case). Under this scenario,
            avoid mixing individuals quarantined due to exposure to a COVID-19 case with individuals undergoing routine
            intake quarantine.
          o If at all possible, do not add more individuals to an existing quarantine cohort after the 14-day quarantine clock
            has started.
    • If the number of quarantined individuals exceeds the number of individual quarantine spaces available
      in the facility, be especially mindful of those who are at higher risk of severe illness from COVID-19.
      Ideally, they should not be cohorted with other quarantined individuals. If cohorting is unavoidable, make all
      possible accommodations to reduce exposure risk for the higher-risk individuals. (For example, intensify social
      distancing strategies for higher-risk individuals.)
    •   In order of preference, multiple quarantined individuals should be housed:
           o Separately, in single cells with solid walls (i.e., not bars) and solid doors that close fully
          o Separately, in single cells with solid walls but without solid doors
          o As a cohort, in a large, well-ventilated cell with solid walls, a solid door that closes fully, and at least 6 feet of
            personal space assigned to each individual in all directions
          o As a cohort, in a large, well-ventilated cell with solid walls and at least 6 feet of personal space assigned to each




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html          3/23/20, 12:05 PM
                                                                                                                           Page 19 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 28 of 61 Page ID
                                      #:5364
             individual in all directions, but without a solid door
          o As a cohort, in single cells without solid walls or solid doors (i.e., cells enclosed entirely with bars), preferably
            with an empty cell between occupied cells creating at least 6 feet of space between individuals. (Although
            individuals are in single cells in this scenario, the airflow between cells essentially makes it a cohort
            arrangement in the context of COVID-19.)
          o As a cohort, in multi-person cells without solid walls or solid doors (i.e., cells enclosed entirely with bars),
            preferably with an empty cell between occupied cells. Employ social distancing strategies related to housing in
            the Prevention section to maintain at least 6 feet of space between individuals housed in the same cell.
          o As a cohort, in individuals' regularly assigned housing unit but with no movement outside the unit (if an entire
            housing unit has been exposed). Employ social distancing strategies related to housing in the Prevention
            section above to maintain at least 6 feet of space between individuals.
          o Safely transfer to another facility with capacity to quarantine in one of the above arrangements
            (NOTE - Transfer should be avoided due to the potential to introduce infection to another facility; proceed only
            if no other options are available.)
    • Quarantined individuals should wear face masks if feasible based on local supply, as source control,
      under the following circumstances (see PPE section and Table 1):
        o If cohorted, quarantined individuals should wear face masks at all times (to prevent transmission from infected
          to uninfected individuals).
          o If quarantined separately, individuals should wear face masks whenever a non-quarantined individual enters
            the quarantine space.
          o All quarantined individuals should wear a face mask if they must leave the quarantine space for any reason.
          o Asymptomatic individuals under routine intake quarantine (with no known exposure to a COVID-19 case) do
            not need to wear face masks.
    • Staff who have close contact with quarantined individuals should wear recommended PPE if feasible
      based on local supply, feasibility, and safety within the scope of their duties (see PPE section and Table 1).
        o Staff supervising asymptomatic incarcerated/detained persons under routine intake quarantine (with no known
           exposure to a COVID-19 case) do not need to wear PPE.
    •   Quarantined individuals should be monitored for COVID-19 symptoms twice per day, including
        temperature checks.
          o If an individual develops symptoms, they should be moved to medical isolation immediately and further
            evaluated. (See Medical Isolation section above.)
          o See Screening section for a procedure to perform temperature checks safely on asymptomatic close contacts of
            COVID-19 cases.
    • If an individual who is part of a quarantined cohort becomes symptomatic:
         o If the individual is tested for COVID-19 and tests positive: the 14-day quarantine clock for the remainder
           of the cohort must be reset to 0.
          o If the individual is tested for COVID-19 and tests negative: the 14-day quarantine clock for this individual
            and the remainder of the cohort does not need to be reset. This individual can return from medical isolation to
            the quarantined cohort for the remainder of the quarantine period.
          o If the individual is not tested for COVID-19: the 14-day quarantine clock for the remainder of the cohort
            must be reset to 0.
    • Restrict quarantined individuals from leaving the facility (including transfers to other facilities) during
      the 14-day quarantine period, unless released from custody or a transfer is necessary for medical care,
      infection control, lack of quarantine space, or extenuating security concerns.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html        3/23/20, 12:05 PM
                                                                                                                         Page 20 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 29 of 61 Page ID
                                      #:5365
    • Quarantined individuals can be released from quarantine restrictions if they have not developed
      symptoms during the 14-day quarantine period.
    • Meals should be provided to quarantined individuals in their quarantine spaces. Individuals under
      quarantine should throw disposable food service items in the trash. Non-disposable food service items should be
      handled with gloves and washed with hot water or in a dishwasher. Individuals handling used food service items
      should clean their hands after removing gloves.
    • Laundry from quarantined individuals can be washed with other individuals' laundry.
        O Individuals handling laundry from quarantined persons should wear disposable gloves, discard after each use,
          and clean their hands after.
          o Do not shake dirty laundry. This will minimize the possibility of dispersing virus through the air.
          o Launder items as appropriate in accordance with the manufacturer's instructions. If possible, launder items
            using the warmest appropriate water setting for the items and dry items completely.
          O Clean and disinfect clothes hampers according to guidance above for surfaces. If permissible, consider using a
            bag liner that is either disposable or can be laundered.


  Management of Incarcerated/Detained Persons with COVID-19
  Symptoms
  NOTE: Some recommendations below apply primarily to facilities with onsite healthcare capacity. Facilities
  without onsite healthcare capacity or without sufficient space for medical isolation should coordinate with
  local public health officials to ensure that suspected COVID-19 cases will be effectively isolated, evaluated,
  tested (if indicated), and given care._

    • If possible, designate a room near each housing unit for healthcare staff to evaluate individuals with
      COVID-19 symptoms, rather than having them walk through the facility to be evaluated in the medical
      unit.
    • Incarcerated/detained individuals with COVID-19 symptoms should wear a face mask and should be
      placed under medical isolation immediately. Discontinue the use of a face mask if it inhibits breathing.
      See Medical Isolation section above.
    • Medical staff should evaluate symptomatic individuals to determine whether COVID-19 testing is
      indicated. Refer to CDC guidelines for information on evaluation and testing. See Infection Control and Clinical Care
      sections below as well.
    • If testing is indicated (or if medical staff need clarification on when testing is indicated), contact the
      state, local, tribal, and/or territorial health department. Work with public health or private labs as
      available to access testing supplies or services.
         o If the COVID-19 test is positive, continue medical isolation. (See Medical Isolation section above.)
          o If the COVID-19 test is negative, return the individual to their prior housing assignment unless they require
            further medical assessment or care.


  Management Strategies for Incarcerated/Detained Persons without
  COVID-19 Symptoms
    • Provide clear information to incarcerated/detained persons about the presence of COVID-19 cases
      within the facility, and the need to increase social distancing and maintain hygiene precautions.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html     3/23/20, 12:05 PM
                                                                                                                      Page 21 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 30 of 61 Page ID
                                      #:5366
          o Consider having healthcare staff perform regular rounds to answer questions about COVID-19.
          o Ensure that information is provided in a manner that can be understood by non-English speaking individuals
            and those with low literacy, and make necessary accommodations for those with cognitive or intellectual
            disabilities and those who are deaf, blind, or low-vision.
    • Implement daily temperature checks in housing units where COVID-19 cases have been identified,
      especially if there is concern that incarcerated/detained individuals are not notifying staff of
      symptoms.See Screening section for a procedure to safely perform a temperature check.
    • Consider additional options to intensify social distancing within the facility.


  Management Strategies for Staff
    • Provide clear information to staff about the presence of COVID-19 cases within the facility, and the
      need to enforce social distancing and encourage hygiene precautions.
        o Consider having healthcare staff perform regular rounds to answer questions about COVID-19 from staff.
    • Staff identified as close contacts of a COVID-19 case should self-quarantine at home for 14 days and
      may return to work if symptoms do not develop.
        o See above for definition of a close contact.
          o Refer to CDC guidelines for further recommendations regarding home quarantine for staff.



  Infection Control
 Infection control guidance below is applicable to all types of correctional facilities. Individual facilities
 should assess their unique needs based on the types of exposure staff and incarcerated/detained persons
 may have with confirmed or suspected COVID-19 cases.

    • All individuals who have the potential for direct or indirect exposure to COVID-19 cases or infectious
      materials (including body substances; contaminated medical supplies, devices, and equipment;
      contaminated environmental surfaces; or contaminated air) should follow infection control practices
      outlined in the CDC Interim Infection Prevention and Control Recommendations for Patients with
      Suspected or Confirmed Coronavirus Disease 2019 (COVID-19) in Healthcare Settings. Monitor these
      guidelines regularly for updates.
        o Implement the above guidance as fully as possible within the correctional/detention context. Some of the
            specific language may not apply directly to healthcare settings within correctional facilities and detention
            centers, or to facilities without onsite healthcare capacity, and may need to be adapted to reflect facility
            operations and custody needs.
          o Note that these recommendations apply to staff as well as to incarcerated/detained individuals who may come
            in contact with contaminated materials during the course of their work placement in the facility (e.g., cleaning).
    •   Staff should exercise caution when in contact with individuals showing symptoms of a respiratory
        infection. Contact should be minimized to the extent possible until the infected individual is wearing a face mask. If
        COVID-19 is suspected, staff should wear recommended PPE (see PPE section).
    • Refer to PPE section to determine recommended PPE for individuals persons in contact with confirmed
      COVID-19 cases, contacts, and potentially contaminated items.



  Clinical Care of COVID-19 Cases


https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-cietention.html   3/23/20, 12:05 PM
                                                                                                                     Page 22 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 31 of 61 Page ID
                                      #:5367
    • Facilities should ensure that incarcerated/detained individuals receive medical evaluation and
      treatment at the first signs of COVID-19 symptoms.
         o If a facility is not able to provide such evaluation and treatment, a plan should be in place to safely transfer the

           individual to another facility or local hospital.
          o The initial medical evaluation should determine whether a symptomatic individual is at higher risk for severe
            illness from COVID-19. Persons at higher risk may include older adults and persons of any age with serious
            underlying medical conditions such as lung disease, heart disease, and diabetes. See CDC's website for a
            complete list, and check regularly for updates as more data become available to inform this issue.
    • Staff evaluating and providing care for confirmed or suspected COVID-19 cases should follow the CDC
      Interim Clinical Guidance for Management of Patients with Confirmed Coronavirus Disease (COVID-19)
      and monitor the guidance website regularly for updates to these recommendations.
    • Healthcare staff should evaluate persons with respiratory symptoms or contact with a COVID-19 case in
      a separate room, with the door closed if possible, while wearing recommended PPE and ensuring that
      the suspected case is wearing a face mask.
        o If possible, designate a room near each housing unit to evaluate individuals with COVID-19 symptoms, rather
           than having them walk through the facility to be evaluated in the medical unit.
    G   Clinicians are strongly encouraged to test for other causes of respiratory illness (e.g., influenza).
    • The facility should have a plan in place to safely transfer persons with severe illness from COVID-19 to
      a local hospital if they require care beyond what the facility is able to provide.
    • When evaluating and treating persons with symptoms of COVID-19 who do not speak English, using a
      language line or provide a trained interpreter when possible.



 Recommended PPE and PPE Training for Staff and
 Incarcerated/Detained Persons
    • Ensure that all staff (healthcare and non-healthcare) and incarcerated/detained persons who will have
      contact with infectious materials in their work placements have been trained to correctly don, doff, and
      dispose of PPE relevant to the level of contact they will have with confirmed and suspected COVID-19
        cases.
          o Ensure that staff and incarcerated/detained persons who require respiratory protection (e.g., N95s) for their
            work responsibilities have been medically cleared, trained, and fit-tested in the context of an employer's
            respiratory protection program.
          o   For PPE training materials and posters, please visit the CDC website on Protecting Healthcare Personnel.
    • Ensure that all staff are trained to perform hand hygiene after removing PPE.
    • If administrators anticipate that incarcerated/detained persons will request unnecessary PPE, consider
      providing training on the different types of PPE that are needed for differing degrees of contact with
      COVID-19 cases and contacts, and the reasons for those differences (see Table 1). Monitor linked CDC
      guidelines in Table 1 for updates to recommended PPE.
    • Keep recommended PPE near the spaces in the facility where it could be needed, to facilitate quick
      access in an emergency.
    • Recommended PPE for incarcerated/detained individuals and staff in a correctional facility will vary
      based on the type of contact they have with COVID-19 cases and their contacts (see Table 1). Each type of
      recommended PPE is defined below. As above, note that PPE shortages are anticipated in every category
      during the COVID-19 response.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html    3/23/20, 12:05 PM
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    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 32 of 61 Page ID
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          o N95 respirator
            See below for guidance on when face masks are acceptable alternatives for N95s. N95 respirators should be
            prioritized when staff anticipate contact with infectious aerosols from a COVID-19 case.
          o Face mask
          o Eye protection - goggles or disposable face shield that fully covers the front and sides of the face
          o A single pair of disposable patient examination gloves
            Gloves should be changed if they become torn or heavily contaminated.
          o Disposable medical isolation gown or single-use/disposable coveralls, when feasible
              ■ If custody staff are unable to wear a disposable gown or coveralls because it limits access to their duty belt
                and gear, ensure that duty belt and gear are disinfected after close contact with the individual. Clean and
                disinfect duty belt and gear prior to reuse using a household cleaning spray or wipe, according to the
                product label.
               • If there are shortages of gowns, they should be prioritized for aerosol-generating procedures, care
                 activities where splashes and sprays are anticipated, and high-contact patient care activities that provide
                 opportunities for transfer of pathogens to the hands and clothing of staff.
    •   Note that shortages of all PPE categories are anticipated during the COVID-19 response, particularly for
        non-healthcare workers. Guidance for optimizing the supply of each category can be found on CDC's
        website:
          o Guidance in the event of a shortage of N95 respirators
              ■ Based on local and regional situational analysis of PPE supplies, face masks are an acceptable
                 alternative when the supply chain of respirators cannot meet the demand. During this time,
                 available respirators should be prioritized for staff engaging in activities that would expose them to
                 respiratory aerosols, which pose the highest exposure risk.
          o Guidance in the event of a shortage of face masks
          o Guidance in the event of a shortage of eye protection
          o Guidance in the event of a shortage of gowns/coveralls




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-cletention.html   3/23/20, 12:05 PM
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    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 33 of 61 Page ID
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                                                               N95               Face         Eye                           Gown/
      Classification of Individual Wearing PPE                 respirator        mask         Protection       Gloves       Coveralls

      Incarcerated/Detained Persons


      Asymptomatic incarcerated/detained persons               Apply face masks for source control as feasible
      (under quarantine as close contacts of a                 based on local supply, especially if housed as a cohort
      COVID-19 case*)


      Incarcerated/detained persons who are                                      X
      confirmed or suspected COVID-19 cases, or
      showing symptoms of COVID-19


      Incarcerated/detained persons in a work                                                                  X           X
      placement handling laundry or used food
      service items from a COVID-19 case or case
      contact


      Incz:!- ceratedidetained             ,york               Addrtional PPE may be needed based
      placement cleaning areas vitnyere a Cf.Y,10-19           on the product Iabe4. Se.e CDC.
      case has spent time                                      guidelines for more details




    * If a facility chooses to routinely quarantine all new intakes (without symptoms or known exposure to a COVID-19 case) before
    integrating into the facility's general population, face masks are not necessary.
    ** A NIOSH-approved N95 is preferred. However, based on local and regional situational analysis of PPE supplies, face masks are an
    acceptable alternative when the supply chain of respirators cannot meet the demand. During this time, available respirators should
    be prioritized for procedures that are likely to generate respiratory aerosols, which would pose the highest exposure risk to staff.




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html               3/23/20, 12:05 PM
                                                                                                                                Page 25 of 26
    Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 34 of 61 Page ID
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 Verbal Screening and Temperature Check Protocols for
 Incarcerated/Detained Persons, Staff, and Visitors
  The guidance above recommends verbal screening and temperature checks for incarcerated/detained persons, staff,
  volunteers, and visitors who enter correctional and detention facilities, as well as incarcerated/detained persons who are
  transferred to another facility or released from custody. Below, verbal screening questions for COVID-19 symptoms and
  contact with known cases, and a safe temperature check procedure are detailed.

    • Verbal screening for symptoms of COVID-19 and contact with COVID-19 cases should include the
      following questions:
        o Today or in the past 24 hours, have you had any of the following symptoms?
             ■ Fever, felt feverish, or had chills?
               ■ Cough?
               ■ Difficulty breathing?
          o In the past 14 days, have you had contact with a person known to be infected with the novel coronavirus
            (COVID-19)?
    • The following is a protocol to safely check an individual's temperature:
        o Perform hand hygiene
          o Put on a face mask, eye protection (goggles or disposable face shield that fully covers the front and sides of the
            face), gown/coveralls, and a single pair of disposable gloves
          o Check individual's temperature
          o If performing a temperature check on multiple individuals, ensure that a clean pair of gloves is
            used for each individual and that the thermometer has been thoroughly cleaned in between each
            check. If disposable or non-contact thermometers are used and the screener did not have physical contact
            with an individual, gloves do not need to be changed before the next check. If non-contact thermometers are
            used, they should be cleaned routinely as recommended by CDC for infection control.
          o Remove and discard PPE
          o perform hand hygiene
                                                                                                        Page last reviewed: March 23, 2020




https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-correctional-detention.html            3/23/20, 12:05 PM
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Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 35 of 61 Page ID
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Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 36 of 61 Page ID

      Coronavirus Information for #:5372



          Staff and Detainees

        Informacion sobre el
    coronavirus Para el personal y
            los detenidos

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ORONAVIRUS
                                    SYMPTOMS OF CORONAVIRUS DISEASE 2019
iSEASE




                              Patients with COVID-19 have experienced mild to
                                         severe respiratory illness.

 Symptoms* ca include                                FE




                                                                   *Symptoms may appear 2-14
                  COUGH                                               days after exposure.




     Seek medical advice if you develop              SHORTNESS
     symptoms, and have been in close
      contact with a person known to
                                                     OF BREATH
      have COVID-19 or if you live in or
     have recently been in an area with
       ongoing spread of COVID-19.


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                                                  For more information: www.cdc.goviCOVID19-symptoms
                             SINTOMAS DE LA ENFERMEDAD DEL
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NEERMEDAD DEL
ORONAVIRUS
                   19        CORONAVIRUS 2019

             Los pacientes con COVID-19 han presentado enfermedad
                           respiratoria de leve a grave.

                 1
Los sintomas* pueden induir                       FIEBRE




                                                            *Los sintomas pueden aparecer de 2
                   TOS                                       a 14 dias despues de la exposicion.




      Consulte a un medico si presenta
     sintomas y ha estado en contacto            DIFICULTAD
    cercano con una persona que se sepa          PARA REST
    que tiene el COVID-19, o si usted vive
      o ha estado recientemente en un
    area en la que haya propagacion en
             curso del COVID-19.




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                                                 to                   www.cdc.goviCOVID19-es
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Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 52 of 61 Page ID
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Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 53 of 61 Page ID
                                  #:5389
       Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 54 of 61 Page ID

                      Share Facts About COVID-19
                                         #:5390




Know the facts about coronavirus disease 2019 (COVID-19) and help stop the spread of rumors.

  FACT      Diseases can makeanyone sick                   FACT         You can help stop COVID-19
   1        regardless of theirTace or ethnicity.
                                                           4            by knowing the signs
                                                                        and symptoms:
  'People-of Asiamdescent; including ChineSe                  • Fever
   Americans, are not more likely to get covip49
                                                              • Cough
   than any other American. fiellitop fear by
   letting people know that being,,of,AMancle5cent:           • Shortness of breath
   does not increase the chance of gettingor . .
   Spreading COVID-19.:                                       Seek medical advice if you
                  ,
                                                              • Develop symptoms
                                                              AND
                                                              • Have been in close contact
  FACT      Some people are at increased risk of                with a person known to hAve
                                                                COVID-19 or if you live in or have
   2        getting COVID-19.
                                                                recently been in an area with
                                                                ongoing spread of COVID-19.
    e.• ew o have been in close contact with a
   person known to have COVID-19 or people who
   live in or have recently been in an area with
lb ongoing spread are at an increased risk               FACT       There are simple things you can
   of exposure.
                                                          5         do to help keep yourself and
                                                                    others healthy.
                                                          • Wash your hands often with soap
  FACT      Someone who has completed                       and water for at least 20 seconds,
            quarantine or has been released                 especially after blowing your nose,
   3        from isolation does not pose a risk of          coughing, or sneezing; going to
                                                            the bathroom; and before eating or
            infection to other people.
                                                            preparing food.
   For up-to-date information, visit CDC's                • Avoid touching your eyes, nose, and
   coronavirus disease 2019 web page.                       mouth with unwashed hands.
                                                          • Stay home when you are sick.
                                                          • Cover your cough or sneeze with a
                                                            tissue, then throw the tissue in
                                                            the trash.

                                                      For more information: www.cdc.gov/COVID19
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           CDC
                 D            What to do if you are sick with
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ORONAVJRUS
ISEASE                        coronavirus disease 2019 (COVID-19)
   If you are sick with COVID-19 or suspect you are infected with the virus that causes COVID-19, follow
   the steps below to help prevent the disease from spreading to people in your home and community.


   Stay home except to get medical care                                Clean your hands often
   You should restrict activities outside your home, except for        Wash your hands often with soap and water for at least 20
   getting medical care. Do not go to work, school, or public areas.   seconds. If soap and water are not available, clean your hands
   Avoid using public transportation, ride-sharing, or taxis.          with an alcohol-based hand sanitizer that contains at least 60%
                                                                       alcohol, covering all surfaces of your hands and rubbing them
   Separate yourself fiom other people and animals in                  together until they feel dry. Soap and water should be used
   your home                                                           preferentially if hands are visibly dirty. Avoid touching your
                                                                       eyes, nose, and mouth with unwashed hands.
   People: As much as possible, you should stay in a specific room
   and away from other people in your home. Also, you should use       Clean all "high-touch"surfaces every day
   a separate bathroom, if available.
                                                                       High touch surfaces include counters, tabletops, doorknobs,
   Animals: Do not handle pets or other animals while sick. See        bathroom fixtures, toilets, phones, keyboards, tablets, and
   COVID-19 and Animals for more information.                          bedside tables. Also, clean any surfaces that may have blood,
                                                                       stool, or body fluids on them. Use a household deaning spray
   Call ahead before visiting your doctor                              or wipe, according to the label instructions. Labels contain
                                                                       instructions for safe and effective use of the cleaning product
   If you have a medical appointment, call the healthcare provider     including precautions you should take when applying the
   and tell them that you have or may have COVID-19. This will         product, such as wearing gloves and making sure you have good
   help the healthcare provider's office take steps to keep other      ventilation during use of the product.
   people from getting infected or exposed.
                                                                       Monitor your symptoms
   Wear a facemask
                                                                       Seek prompt medical attention if your illness is worsening (e.g.,
   You should wear a facemask when you are around other people         difficulty breathing). Before seeking care, call your healthcare
   (e.g., sharing a room or vehicle) or pets and before you enter      provider and tell them that you have, or are being evaluated
   a healthcare provider's office. If you are not able to wear a       for, COVID-19. Put on a facemask before you enter the facility.
   facemask (for example, because it causes trouble breathing),        These steps will help the healthcare provider's office to keep
   then people who live with you should not stay in the same room      other people in the office or waiting room from getting infected
   with you, or they should wear a facemask if they enter              or exposed.
   your room.
                                                                       Ask your healthcare provider to call the local or state health
   Cover your coughs and sneezes                                       department. Persons who are placed under active monitoring or
   Cover your mouth and nose with a tissue when you cough or           facilitated self-monitoring should follow instructions provided
   sneeze. Throw used tissues in a lined trash can; immediately        by their local health department or occupational health
   wash your hands with soap and water for at least 20 seconds         professionals, as appropriate. When working with your local
   or clean your hands with an alcohol-based hand sanitizer that       health department check their available hours.
   contains at least 60% alcohol covering all surfaces of your hands
   and rubbing them together until they feel dry. Soap and water       If you have a medical emergency and need to call 911, notify the
   should be used preferentially if hands are visibly dirty.           dispatch personnel that you have, or are being evaluated for
                                                                       COVID-19. If possible, put on a facemask before emergency
   Avoid sharing personal household items                              medical services arrive.

   You should not share dishes, drinking glasses, cups, eating         Discontinuing home isolation
   utensils, towels, or bedding with other people or pets in
   your home. After using these items, they should be washed           Patients with confirmed COVID-19 should remain under home
   thoroughly with soap and water.                                     isolation precautions until the risk of secondary transmission
                                                                       to others is thought to be low. he decision to discontinue
                                                                       home isolation precautions should be made on a case-by-case
                                                                       basis, in consultation with healthcare providers and state and
                                                                       local health departments.


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               Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 58 of 61 Page ID
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NFERMEDAD DEL
ORONAVIRUS                      coronavirus 2019 (COVID-19)
 Si usted esta enfermo con COVID-19 o sospecha que esti infectado por el virus que causa el COVID-19, tome las
 medidas mencionadas a continuation para ayudar a prevenir que la enfermedad se propague a personas en su
 casa yen la comunidad.

 Quedese en casa, excepto para conseguir atencion media                   Limpiese las manos con frecuencia
 Debe restringir las actividades fuera de su casa, excepto para           Lavese frecuentemente las manos con agua y jab6n por al menos 20
 conseguir atencion medica. No vaya al trabajo, la escuela o a areas      segundos. Si no hay agua y jab6n disponibles, limpieselas con un
 publicas. Evite usar el servicio de transporte public°, vehiculos        desinfectante de manos que contenga al menos un 60 % de alcohol,
 compartidos o taxis.                                                     cubra todas las superficies de las manos y froteselas hasta que sienta
                                                                          que se secaron. Si tiene las manos visiblemente sucias, es preferible
 Mantengase alejado de otras personas y de los animales en                usar agua y jab6n. Evite tocarse los ojos, la nariz y la boca con las
 su casa                                                                  manos sin lavar.

 Personas: en la medida de lo posible, permanezca en una habitation       Limpie todos los dias todas las superficies de contacto frecuente
 especifica y lejos de las demas personas que esten en su casa.
 Ademas, deberia usar un bario aparte, de ser posible.                    Las superficies de contacto frecuente incluyen los mesones, las
                                                                          mesas, las manijas de las puertas, las llaves y grifos del batio, los
 Animales: mientras este enfermo, no manipule ni toque mascotas           inodoros, los telefonos, los teclados, las tabletas y las mesas de cama.
 ni otros animales. Consulte El COVID-19 y los animales para obtener      Limpie tambien todas las superficies que puedan tener sangre, heces
 mas information.                                                         o liquidos corporales. Use un limpiador de uso domestic°, ya sea un
                                                                          rociador o una toallita, seem las instrucciones de la etiqueta. Las
 Llame antes de it al medico                                              etiquetas contienen instrucciones para el uso seguro y eficaz de los
                                                                          productos de limpieza, incluidas las precauciones que deberia tomar
 Si tiene una cita medica, llame al proveedor de atencion medica y        cuando aplique el producto, como usar guantes y asegurarse de tener
 digale que tiene o que podria tener COVID-19. Esto ayudara a que en      buena ventilation mientras lo este usando.
 el consultorio del proveedor de atencion medica se tomen medidas
 para evitar que otras personas se infecten o expongan.
                                                                          Vigile sus sintomas
 Use una mascarilla                                                       Busque atencion medica rapidamente si su enfermedad empeora
                                                                          (p. ej., si tiene dificultad para respirar). Antes de hacerlo, llame a
 Usted deberia usar una mascarilla cuando este cerca de otras             su proveedor de atencion medica y digale que tiene COVID-19, o
 personas (p. ej., compartiendo una habitation o un vehiculo) o           que esti siendo evaluado para determinar si lo tiene. Pongase una
 de mascotas y antes de entrar al consultorio de un proveedor de          mascarilla antes de entrar al consultorio. Estas medidas ayudaran
 atencion medica. Si no puede usar una mascarilla (por ejemplo,           a que en el consultorio del proveedor de atencion medica se pueda
 porque le causa dificultad para respirar), las personas que vivan con    evitar la infecci6n o exposition de las otras personas que esten en el
 usted no deberian permanecer con usted en la misma habitation, o         consultorio o la sala de espera.
 deberian ponerse una mascarilla si entran a su habitaci6n.
                                                                          Pidale a su proveedor de atenci6n medica que llame al departamento
 Ciibrase Ia nariz y la boca al toser y estornudar                        de salud local o estatal. Las personas que esten bajo monitoreo activo
 Cubrase la nariz y la boca con un paiiuelo desechable al toser o         o automonitoreo facilitado deben seguir las indicaciones provistas
 estornudar. Bote los paiiuelos desechables usados en un bote de          por los profesionales de salud ocupacional o de su departamento de
 basura con una bolsa de plastic° adentro; lavese inmediatamente las      salud local, seem corresponda.
 manos con agua y jab6n por al menos 20 segundos o limpieselas con
 un desinfectante de manos que contenga al menos 60 % de alcohol,         Si tiene una emergencia medica o necesita Hamar a1911, avisele
 cubra todas las superficies de las manos y froteselas hasta que sienta   al personal del centro de llamadas que tiene COVID-19 o lo estan
 que se secaron. Si tiene las manos visiblemente sucias, es preferible    evaluando para determinarlo. De ser posible, pongase una mascarilla
 usar agua y jab6n.                                                       antes de que llegue el servicio medico de emergencias.

 Evite compartir articulos del hogar de uso personal                      Interruption del aislamiento en la casa
 No debe compartir platos, vasos, tazas, cubiertos, toallas o ropa de     Los pacientes con COVID-19 confirmado deben permanecer
 cama con otras personas o mascotas que esten en su casa. Despues         bajo precauciones de aislamiento en la casa hasta que el riesgo
 de usar estos articulos, se los debe lavar bien con agua y jabon.        de transmision secundaria a otras personas se considere bajo.
                                                                          La decision de interrumpir las precauciones de aislamiento en la
                                                                          casa debe tomarse segan cada caso en particular, en consulta con
                                                                          proveedores de atencion medica y departamentos de salud estatales
                                                                          y locales.
                   CDC
                                                               Para obtegtmas informaciOn: www.cdc.gov/COVID19-es
           Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 59 of 61 Page ID
                               What you need to know about
                                             #:5395


                               coronavirus disease 2019 (COVID-19)
What is coronavirus disease 2019 (COVID-19)?                       What are severe complications from this virus?
Coronavirus disease 2019 (COVID-19) is a respiratory illness       Some patients have pneumonia in both lungs, multi-organ
that can spread from person to person. The virus that causes       failure and in some cases death.
COVID-19 is a novel coronavirus that was first identified during
an investigation into an outbreak in Wuhan, China.                 How can I help protect myself?
                                                                   People can help protect themselves from respiratory illness with
Can people in the U.S. get COVID-19?                               everyday preventive actions.
Yes. COVID-19 is spreading from person to person, in parts of      • Avoid dose contact with people who are sick.
the United States. Risk of infection with COVID-19 is higher       • Avoid touching your eyes, nose, and mouth with
for people who are dose contacts of someone known to have            unwashed hands.
COVID-19, for example healthcare workers, or household             • Wash your hands often with soap and water for at least 20
members. Other people at higher risk for infection are those         seconds. Use an alcohol-based hand sanitizer that contains at
who live in or have recently been in an area with ongoing spread     least 60% alcohol if soap and water are not available.
of COVID-19. Learn more about places with ongoing spread at
https://www.cdc.gov/coronavirus/2019-ncov/about/                   If you are sick, to keep from spreading respiratory illness
transmission.html#geographic.
                                                                   to others, you should
Have there been cases of COVID-19 in the U.S.?                     • Stay home when you are sick.
                                                                   • Cover your cough or sneeze with a tissue, then throw the
Yes. The first case of COVID-19 in the United States was             tissue in the trash.
reported on January 21, 2020. The current count of cases of        • Clean and disinfect frequently touched objects
COVID-19 in the United States is available on CDC's webpage at       and surfaces.
https:1iwww.cdc.gov/coronavirus.12019-ncov/cases-in-us.html.
                                                                   What should I do ifI recently traveled from an area with
How does COVID-19 spread?
The virus that causes COVID-19 probably emerged from an
                                                                   ongoing spread of COVID-19?
animal source, but is now spreading from person to person.         If you have traveled from an affected area, there may be
The virus is thought to spread mainly between people who           restrictions on your movements for up to 2 weeks. If you
are in dose contact with one another (within about 6 feet)         develop symptoms during that period (fever, cough, trouble
through respiratory droplets produced when an infected             breathing), seek medical advice. Call the office of your health
person coughs or sneezes. It also may be possible that a person    care provider before you go, and tell them about your travel and
can get COVID-19 by touching a surface or object that has          your symptoms. They will give you instructions on how to get
the virus on it and then touching their own mouth, nose, or        care without exposing other people to your illness. While sick,
possibly their eyes, but this is not thought to be the main        avoid contact with people, don't go out and delay any travel to
way the virus spreads. Learn what is known about the spread        reduce the possibility of spreading illness to others.
of newly emerged coronaviruses at https://www.cdc.gov/
coronavirus/2019-ncov/about/transmission.html.                     Is there a vaccine?
                                                                   There is currently no vaccine to protect against COVID-19. The
What are the symptoms of COVID-19?                                 best way to prevent infection is to take everyday preventive
Patients with COVID-19 have had mild to severe respiratory         actions, like avoiding dose contact with people who are sick and
illness with symptoms of                                           washing your hands often.
• fever
• cough                                                            Is there a treatment?
• shortness of breath
                                                                   There is no specific antiviral treatment for COVID-19.
                                                                   People with COVID-19 can seek medical care to help
                                                                   relieve symptoms.




          er a                                                       For more information: www.cdc.gov/COVID19
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                 Case 5:17-cv-02514-JGB-SHK Document 256-2 Filed 04/08/20 Page 60 of 61 Page ID
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                                   to que necesita saber sobre la enfermedad
                                             #:5397

NFERVPAD DEL
                                   del coronavirus 2019 (COVID-19)
      iQue es la enfermedad del coronavirus 2019 (COVID-19)?               IQue puedo hacer para ayudar a protegerme?
      La enfermedad del coronavirus 2019 (COVID-19) es una                 Las personas se pueden proteger de las enfermedades
      afeccion respiratoria que se puede propagar de persona               respiratorias tomando medidas preventives cotidianas.
      a persona. El virus que cause el COVID-19 es un nuevo
      coronavirus que se identifico por primera vez durante la             • Evite el contacto cercano con personas enfermas.
      investigacion de un brote en Wuhan, China.                           • Evite tocarse los ojos, la nariz y la boca con las manos sin
                                                                             laver.
      iPueden las personas en los EE. UU. contraer el COVID-19?            • Lavese frecuentemente las manos con ague y jabon por al
      Si. El COVID-19 se esta propagando de persona a persona                menos 20 segundos. Use un desinfectante de manos que
      en partes de los Estados Unidos. El riesgo de infeccion con            contenga al menos un 60 % de alcohol si no hay agua y jabon
      COVID-19 es mayor en las personas que son contactos cercanos           disponibles.
      de alguien que se sepa que tiene el COVID-19, por ejemplo,
      trabajadores del sector de la salud o miembros del hogar. Otras
      personas con un riesgo mayor de infeccion son las que viven o
                                                                           Si esta enfermo, para prevenir la propagacion de la
      han estado recientemente en un area con propagacion en curso         enfermedad respiratoria a los demas, deberia hacer lo
      del COVID-19.                                                        siguiente:
                                                                           • Quedarse en casa si esta enfermo.
      iHa habido casos de COVID-19 en los EE. UU.?
                                                                           • Cubrirse la nariz y la boca con un pariuelo desechable al toser
      Si. El primer caso de COVID-19 en los Estados Unidos se                o estornudar y luego botarlo a la basura.
      notific6 el 21 de enero del 2020. La cantidad actual de casos de
      COVID-19 en los Estados Unidos esta disponible en la pagina          • Limpiar y desinfectar los objetos y las superficies que se tocan
      web de los CDC en https://www.cdc.gov/coronavirus/2019-                frecuentemente.
      ncov/cases-in-usltml.
                                                                           iQue debo hacer si he regresado recientemente de un viaje
      1Como se propaga el COVID-19?                                        a un area con propagacion en curso del COVID-19?
      Es probable que el virus que causa el COVID-19 haya surgido de       Si ha llegado de viaje proveniente de un area afectada, podrian
      una fuente animal, pero ahora se este propagando de persona a        indicarle que no salga de casa por hasta 2 semanas. Si presenta
      persona. Se cree que el virus se propaga principalmente entre las    sintomas durante ese periodo (fiebre, tos, dificultad para
      personas que estan en contacto cercano unas con otras (dentro        respirar), consulte a un medico. Llame al consultorio de su
      de 6 pies de distancia), a traves de las gotitas respiratorias que   proveedor de atencion medica antes de it y digales sobre su
      se producen cuando una persona infectada tose o estornuda.           viaje y sus sintomas. Ellos le daran instrucciones sobre coma
      Tambien podria ser posible que una persona contraiga el              conseguir atencion medica sin exponer a los dernas a su
      COVID-19 al tocar una superficie u objeto que tenga el virus y       enfermedad. Mientras este enfermo, evite el contacto con otras
      luego se toque la boca, la nariz o posiblemente los ojos, aunque     personas, no salga y postergue cualquier viaje para reducir la
      no se cree que esta sea la principal forma en que se propaga el      posibilidad de propagar la enfermedad a los dernas.
      virus. InfOrmese sobre lo que se sabe acerca de la propagacion de
      los coronavirus de reciente aparicion en https://www.cdc.gov/
      coronavirus/2019-ncov/about/transmission-sp.html.                    iHay alguna vacuna?
                                                                           En la actualidad no existe una vacuna que proteja contra el
      1Cuales son los sintomas del COVID-19?                               COVID-19. La mejor manera de prevenir infecciones es tomar
                                                                           medidas preventives cotidianas, como evitar el contacto cercano
      Los pacientes con COVID-19 han tenido enfermedad                     con personas enfermas y lavarse las manos con frecuencia.
      respiratoria de leve a grave con los siguientes sintomas:
      • fiebre                                                             LExiste un tratamiento?
      • tos                                                                No hay un tratamiento antiviral especifico para el COVID-19.
      • dificultad para respirar                                           Las personas con el COVID-19 pueden buscar atencion medica
                                                                           para ayudar a aliviar los sintomas.

     iCuales son las complicaciones graves provocadas por
     este virus?
     Algunos pacientes presentan neumonia en ambos pulmones,
     insuficiencia de multiples organos y algunos han muerto.




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